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1                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
2

3       UNITED STATES OF AMERICA,
                                                              Criminal Action
4                     Plaintiff,                              No. 1: 21-399
5               vs.                                           Washington, DC
                                                              February 28, 2024
6       ROMAN STERLINGOV,
                                                              9:23 a.m.
7                   Defendant.
        __________________________/                           MORNING PROCEEDINGS
8

9                             TRANSCRIPT OF JURY TRIAL
                       BEFORE THE HONORABLE RANDOLPH D. MOSS
10                          UNITED STATES DISTRICT JUDGE
11

12      APPEARANCES:
13      For the Plaintiff:          CATHERINE PELKER
                                    U.S. DEPARTMENT OF JUSTICE
14                                  950 Pennsylvania Ave NW
                                    Washington, DC 20530
15
                                    CHRISTOPHER BRODIE BROWN
16                                  DOJ-USAO
                                    601 D Street, N.W.
17                                  Suite 5.1527
                                    Washington, DC 20530
18
                                    JEFFREY PEARLMAN
19                                  DOJ-CRM
                                    Ccips
20                                  US Dept of Justice
                                    1301 New York Ave NW
21                                  Washington, DC 20005

22

23                       APPEARANCES CONTINUED ON NEXT PAGE

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1                                APPEARANCES CONTINUED

2       For the Defendant:          TOR EKELAND
                                    MICHAEL HASSARD
3                                   TOR EKELAND LAW PLLC
                                    30 Wall Street
4                                   8th Floor
                                    Brooklyn, NY 10005
5

6
        Court Reporter:             SHERRY LINDSAY
7                                   Official Court Reporter
                                    U.S. District & Bankruptcy Courts
8                                   333 Constitution Avenue, NW
                                    Room 6710
9                                   Washington, DC 20001
10

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1                                P R O C E E D I N G S
2                   THE COURT:    All right.    Anything before we get the

3       jury?

4                   MR. BROWN:    No, Your Honor.

5                   MR. EKELAND:    No, Your Honor.

6                   THE COURT:    All right.    Let's get the jury and the

7       witness can come back to the stand.

8                   (Jury in at 9:23 a.m.)

9                   THE COURT:    All right.    Ms. Pelker, you may proceed

10      when you are ready.

11                  MS. PELKER:    Your Honor, do we need to call the

12      case?

13                  THE COURT:    Yes.

14                  THE COURTROOM DEPUTY:      Criminal case 21-399, United

15      States of America versus Roman Sterlingov.

16                  Would counsel please state your name for the record

17      starting with government counsel.

18                  MS. PELKER:    Good morning, Your Honor.         C. Alden

19      Pelker for the United States, joined at counsel table by Chris

20      Brown and Jeffrey Pearlman.

21                  MR. EKELAND:    Good morning, Your Honor.         Tor Ekeland

22      for defendant Roman Sterlingov who is present in court and

23      joining me at counsel table is Mr. Michael Hassard.

24                  THE COURT:    All right.    Thank you.

25                  Ms. Pelker, now you can continue.
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1                    MS. PELKER:   Thank you, Your Honor.

2                             DIRECT EXAMINATION CONTINUED

3       BY MS. PELKER:

4       Q.    Good morning, CS Mazars.

5       A.    Good morning.

6       Q.    When we left off yesterday, we were discussing Who is

7       lookups.     Can you remind the jury, what is a Who is lookup?

8       A.    A Who is lookup is a search of a database of records

9       that -- that record which IPs were controlled by which entities

10      at a certain time.      And there are also Who is records for

11      domains with contact information, organizational information

12      and the like for domains.

13      Q.    And what information is included with a Who is lookup for

14      an IP address?

15      A.    It will show the entire net block, so the base of IP that

16      it is in and the organization or entity's name, usually

17      address, phone number, oftentimes there will be business

18      contacts and contacts if it is being misused and that is

19      usually the base of it.

20      Q.    If we could pull up Exhibit 366, which is in evidence.

21            CS Mazars, what is this in front of you?

22      A.    This is a Who is record.

23      Q.    And does this accurately depict the entry in the Who is

24      records for DOJ, the Department of Justice's IP space?

25      A.    Yes.
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1       Q.    Would it help the jury understand your testimony about Who

2       is records?

3       A.    Yes.

4                    MS. PELKER:    Government moves to admit and publish

5       Exhibit 366 as a demonstrative.

6                    THE COURT:    Any objection?

7                    MR. EKELAND:   No objection, Your Honor.

8                    THE COURT:    Exhibit 366 is admitted as

9       demonstrative.

10                   (Whereupon, Exhibit No. 366 was admitted.)
11      BY MS. PELKER:

12      Q.    CS Mazars, can you explain what is shown here in this Who

13      is record?

14      A.    So this Who is record looks up IP address 149.101.1.115 --

15      Q.    And --

16      A.    -- for a particular date.       These Who is records are

17      captured routinely over time.

18      Q.    And what is the information -- if we can scroll down a

19      bit -- shown for who is controlling this block of -- the block

20      of IP addresses in which this IP falls?

21      A.    The US Department of Justice.

22      Q.    If we could scroll down just a bit.             Can you explain

23      generally what is shown here with the record?

24      A.    So apart from the date that this record captured as

25      registration and update when changes were made, you can see the
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 7 of 117
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1       abuse name and handle and that is, as I mentioned before, who

2       one should contact if an IP or a domain is being used for spam

3       or fraud or some other type of legal issue.            And there is a

4       phone number and email address for that.

5       Q.    Does ARIN check the name listed on a Who is record is a

6       real person?

7       A.    No.

8       Q.    So is it accurate to say that the Who is record just shows

9       whatever information the company has entered?

10      A.    Yes.

11      Q.    And can Who is information change over time?

12      A.    Yes, it can.

13      Q.    Is there a way to look at historical Who is information to

14      determine what the Who is information for an IP address was for

15      a past date?

16      A.    Yes.   Multiple companies record and maintain a database of

17      Who is records which allows you to go back and search them.

18      Q.    Can you name some of the companies and services that

19      compile that information?

20      A.    The main one that comes to mind is DomainTools.

21      Q.    And how do those -- how does DomainTools or similar

22      companies direct the information?

23      A.    My understanding is that they have set up a process to

24      routinely query or search the Who is databases across all of

25      the IP space and all of the domains that it is aware of at a
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1       high level.    And as it routinely goes through and checks, it

2       looks at what the response is and just saves it and likely

3       indexes it, meaning pulling out the key words so it is

4       searchable.

5       Q.    Do these companies change the actual substantive

6       information as they are cataloging it?

7       A.    No, they just record it.

8       Q.    And is Who is information widely used by members of the

9       cybersecurity profession?

10      A.    Yes, it is.

11      Q.    Do you frequently look at Who is information in your work?

12      A.    Yes.

13      Q.    Does that include both doing Who is lookups live and

14      searching a historical database like DomainTools?

15      A.    Yes, both of them.

16      Q.    Have you had the opportunity to compare your live Who is

17      lookups to the cataloged information in DomainTools?

18      A.    Yes, some of them.

19      Q.    Have you found the records in DomainTools and similar Who

20      is lookup tools to accurately reflect the Who is records as

21      they existed?

22      A.    Yes.

23      Q.    And do you and other cybersecurity practitioners rely on

24      those compilations?

25      A.    Yes.
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1       Q.    Do some of those services like DomainTools also record

2       what is called passive DNS information?

3       A.    Yes.

4       Q.    Can you explain, what is DNS?

5       A.    The domain name system is like an address book for IP

6       addresses.    As we said, the computers connect to each other

7       using their IP address.      So when you type in a website name,

8       how does it know which IP address goes with that website?             Your

9       computer will consult a DNS server, just like I might see --

10      not have my friend's phone number memorized or someone I just

11      met, but I can look them up by name and it will give me the

12      number, which is what I actually call.

13      Q.    What is passive DNS?

14      A.    So passive DNS, much like Who is, when the current

15      databases are queried and the records are saved, sites that

16      maintain passive DNS have been doing this with DNS requests.

17      So they have computers on the internet that just watch as

18      requests are made and responses come back.            What is the IP for

19      Google, for example, 8.8.8.8.        And when it sees one of those

20      responses, it just archives it is my understanding.              So that

21      way and there are different types of DNS requests, but it can

22      be helpful to search where certain domains resolve to, meaning

23      their IP address at a certain point in time.

24      Q.    Like the Who is information, are passive DNS directories

25      generally used and relied on by members of the cybersecurity
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 10 of 117
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1        profession?

2        A.    Yes.

3        Q.    And how do you use Who is and passive DNS information in

4        your IP address analysis in this case?

5        A.    In this case, I used them both to get a sense of what kind

6        of service provider controlled that IP at the time, whether it

7        was online hosting or more residential or business looking

8        internet connection or something else.          But to make sure I

9        wasn't comparing current records to historic events, I made

10       sure to go back in time to when I saw these IPs in the records

11       to look at which companies and what type of companies had them

12       at the time.

13       Q.    Why is it valuable to law enforcement to know who controls

14       a particular IP address of interest in a case?

15                    MR. EKELAND:   Objection; leading.

16                    THE COURT:   I'm sorry?

17                    Overruled.

18                    MR. EKELAND:   I'm sorry.

19                    THE COURT:   Overruled.

20                    THE WITNESS:   Oftentimes, it becomes the next step

21       for legal process.     For example, a subpoena, because that

22       company might be the next source of information about a server

23       and how it was used, for example.

24       BY MS. PELKER:

25       Q.    Is it possible for someone to take steps to try to hide
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1        the IP address that they are using?

2        A.    Yes.

3        Q.    And does law enforcement often connect IP address

4        information with other information or information gathering

5        tools that they have?

6        A.    Yes.

7        Q.    Can you explain what a proxy is?

8        A.    A proxy is a server between the user and the rest of the

9        internet.    Sometimes people will set it up automatically in

10       their browser.       For -- to have a reason to come out of the

11       proxy's IP address to be visible on the internet as the proxy

12       and not as one's own home IP address, for example.              Users can

13       use a proxy server to funnel their traffic through.              You can

14       connect to the proxy and then out to the internet.

15       Q.    And as a very simple example, if you have two -- if

16       someone has two computers, could they set up one of them as a

17       proxy?

18       A.    Yes, they could.

19       Q.    And what would that look like as far as the connections?

20       A.    The two computers would be networked together in one

21       setup.   I could have my computers talk to each other locally on

22       my network, but I could keep one computer more or less private.

23       And when I send a request, for example, show me Google.com, it

24       would go to the other computer first and then to the internet

25       and to Google and it could come back the same way.
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1        Q.    Are there companies that also offer proxies as a service?

2        A.    Yes.

3        Q.    How do those companies work generally?

4        A.    To simplify things and to be able to handle more traffic,

5        for example, the company will host a server somewhere out on

6        the internet, sort of like in the first setup I described.              If

7        you pay for the service, you get a username and password to the

8        server, so you can set up your computer to always exit through

9        it.

10       Q.    How do the companies get those servers in the first place?

11       A.    They lease them from other providers.

12       Q.    And where are those servers typically located?

13       A.    They could be anywhere in the world.

14       Q.    And can multiple people be using the same proxy server on

15       the same day?

16       A.    Yes.

17       Q.    What sorts of things can dictate how many people could be

18       using a particular proxy service server around the same time?

19       A.    In terms of users all connecting at the same time, it can

20       only support so many connections.         One, because you will run

21       out of ports at same point.         If all of the connections are

22       going through the some sort of door to the server on one end,

23       they need to map internally to the routes in.             And at a high

24       level at a certain point, you will run out.            Oftentimes servers

25       won't have enough CPUs or processing power to handle many
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1        different connections at the same time.

2              And they also need to handle requests for the rest of the

3        internet, like web crawlers attempted sometimes like -- attacks

4        or research attempts, all of that will be hitting the server at

5        the same time.

6        Q.    Does the activity that someone is taking on a proxy server

7        also sometimes impact what bandwidth is available for other

8        users?

9        A.    Yes, it would.

10       Q.    Can you, using Netflix as an example, explain how that

11       could play out?

12       A.    Large video downloads, especially of high quality video,

13       take a lot of bandwidth.

14       Q.    What are the benefits of using a proxy service as opposed

15       to setting up your own home proxy?

16       A.    It would be less expensive in most cases and simpler.

17       Q.    What are some of the downsides?

18       A.    You are trusting a third party with your data.            Even if

19       you connect to it encrypted, you don't know what kind of

20       connection records they are keeping of which IP came into it

21       and which IP came out.      And so you lose a bit of control over

22       your own internet browsing that way.

23       Q.    What is a virtual private network or VPN?

24       A.    A VPN is a service where the company controls an array of

25       different servers.     And you connect, you open the software and,
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1        say, connect through the VPN in this context and it will assign

2        you a server to come out of similar to a proxy.

3        Q.    Can people also hide their true IP address by using Tor?

4        A.    Yes.

5        Q.    What is Tor?

6        A.    Tor stands for The Onion Router.        And it is a network of

7        computers and servers that -- most of them only communicate

8        with one another.     Some handle the users' requests in and then

9        some of them only pass the traffic out to the internet.               And at

10       a high level, it directs the traffic multiple -- to multiple

11       servicers, sometimes called hops through the network and exit

12       out for the stated purpose of anonymity.

13       Q.    Why was Tor originally called The Onion Router?

14       A.    As the traffic moves through the Tor network, it picks up

15       layers of encryption.      So that -- to protect the data.            So each

16       server adds an additional layer on top so that others servers

17       in the network can't decrypt it or decode it, in a sense, and

18       read all of the traffic.      So like the layers of an onion, the

19       encryption gets added and then one by one on the way out, it

20       gets peeled off or decrypted.

21       Q.    Who runs Tor?

22       A.    An organization, not for profit called the Tor Project.

23       Q.    And who controls all of these Tor nodes that are

24       participating in the Tor network?

25       A.    Many different people and organizations.           Anyone can set
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1        up a Tor node.

2        Q.    Where are all of these nodes, computer's servers located?

3        A.    All over the world.

4        Q.    So if I wanted to, could I go home and become a Tor node

5        with my home computer?

6        A.    Yes.

7        Q.    And if I did that, whose internet traffic could be routing

8        through my home IP address?

9        A.    Anyone who is using the Tor network.

10       Q.    How does someone use Tor?

11       A.    Most users download the Tor browser and launch it and sort

12       their connection through there.        Although there are other

13       command line ways that you can run the Tor service and use it

14       as well.

15       Q.    Did you assist in compiling a series of visuals to help

16       explain Tor and internet routing to the jury?

17       A.    Yes.

18       Q.    Pulling up Exhibit 361, not yet in evidence.

19             Is this the PowerPoint presentation that you assisted in

20       compiling?

21       A.    Yes.

22       Q.    Will it assist the jury in understanding your testimony?

23       A.    Yes.

24                    MS. PELKER:   Government moves to admit and publish

25       as a demonstrative, Exhibit 361.
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                                                                               16

1                     THE COURT:   Any objection?

2                     MR. EKELAND:   No objection, Your Honor.

3                     THE COURT:   Exhibit 361 is admitted as a

4        demonstrative and may be published to the jury.

5                     (Whereupon, Exhibit No. 361 was admitted.)
6        BY MS. PELKER:

7        Q.     CS Mazars, what is shown here?

8        A.     This was the home page or landing page that a user would

9        see when they opened up the Tor browser.

10       Q.     And generally speaking, what is a browser?

11       A.     A browser is a computer program that makes it easy to

12       connect to the internet.

13       Q.     And what are some of the browsers the jury might be

14       familiar with?

15       A.     Chrome, Firefox, Internet Explorer and Edge are some

16       common ones.

17       Q.     Where do you get this Tor browser?

18       A.     You go to the Tor Project's website and download it.

19       Q.     Now, do you have to download this browser in order to use

20       Tor?

21       A.     No.

22       Q.     What is the other alternative, if you didn't want to use

23       this browser?

24       A.     You could start Tor as a service, which is essentially

25       what the browser does.      So you have Tor's code running on your
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1        computer and it starts the connection, the network connection.

2        And then from there, you can use certain command line programs

3        to take your regular internet connections, but run them through

4        Tor.

5        Q.     Can you explain what a command line is in a nontechnical

6        way?

7        A.     Oftentimes on a computer, if you see a help desk fixing

8        something on your computer or someone technical using it, they

9        will pop up a window and start typing commands, program names,

10       copy, move, things like that.       They are sending commands more

11       directly to the computer without all of the visual programs.

12       And they have that on Windows systems but also on Linux

13       systems.

14       Q.     What is Linux?

15       A.     Linux is an operating system, just like some run Mac OS on

16       their laptops and some run Windows.         Linux is often free, some

17       versions are a paid operating system, similar to Mac OS that is

18       popular too.

19       Q.     Directing your attention to the slide in front of you, can

20       you explain what is shown here?

21       A.     This is a demonstration of using Linux terminal, which is

22       sort of command line to visit a website or send a command to a

23       website through the Tor network.

24       Q.     Now, can you use Tor to access regular websites like

25       Google.com?
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1        A.    Yes.

2        Q.    And are there also special hidden sites that you can only

3        access if you are using Tor?

4        A.    Yes.

5        Q.    Do they have a special name?

6        A.    They are known as Tor hidden services.

7        Q.    What does a Tor hidden services address look like?

8        A.    They tend to be a long string of letters and numbers.

9        They are two different formats you have seen.            And they have

10       gotten even longer.     And they always end in .onion.

11       Q.    I'd like to have you walk through a couple scenarios to

12       explain internet traffic routing.        If someone who is not using

13       any sort of anonymizing service sits down at their home

14       computer and goes to Google, what IP address will Google see

15       accessing the site?

16       A.    Their home IP, the IP coming out of their home router.

17       Q.    And directing your attention to this next slide 4, can you

18       walk through that using this slide as an example?

19       A.    Yes.   In this example, the user's home IP or the IP of

20       where they are connecting from is 72.77.50.122.            And they are

21       interested in visiting Google.com.

22       Q.    So what happens when their computer wants to connect or

23       retrieve information from Google.com?

24       A.    Their computer makes a web request for Google.com and it

25       is coming from their IP.
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1        Q.    Where would that IP address information generally be

2        collected?

3        A.    Generally the servers keep records known as server logs.

4        And the time of the connection and the IP address and some

5        other information would be recorded in the server's log.

6        Q.    Is that what is shown here on the side under Google.com

7        server log?

8        A.    Yes.

9        Q.    What information is then sent back to the user?

10       A.    The web response, in this case the Google homepage.

11       Q.    If you were law enforcement investigating this activity

12       because it was tied to crime, how would you go about figuring

13       out who is responsible for this access of Google.com?

14       A.    I would attempt to get access to Google's server logs and

15       do research on the IP, maybe using the date and time to help

16       center my research.     This is where Who is records and passive

17       DNS often come into play as the next step.

18       Q.    So let's say, you send Google a subpoena and you

19       determine -- you get the information about the IP, you

20       determine that the IP was controlled by Comcast, what would you

21       do next?

22       A.    I have to ask Comcast and do a legal -- send them legal

23       process to get to the next step of who is using it in most

24       cases.

25       Q.    Directing your attention to this next slide.            Can you walk
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1        us through what this looks like if the person is using a proxy?

2        A.     In this case, the user might be running a proxy tool,

3        maybe they pop up the software and say connect or maybe they

4        have it preset already in their browser to use.            But then from

5        there, same home IP address, they would use a proxy as the

6        first step to connect to the internet.          They are still

7        searching for Google.com.

8        Q.     And how would the user start the connection?           What is the

9        first step in the connection shown here?

10       A.     They would connect to the proxy server.

11       Q.     And what happens from the proxy server to connect to

12       Google?

13       A.     The proxy server relays the traffic on to Google.

14       Q.     And what will Google then see in its server log?

15       A.     The proxy server's IP address because that is where the

16       traffic last came from.

17       Q.     So can you point to where the .279 appears in the server

18       log?

19       A.     Right here.

20       Q.     And it is a better arrow than I could draw.

21              So where does -- how does the traffic then get routed back

22       to the user?

23       A.     Back through the proxy server.

24       Q.     And so if you were law enforcement investigating this

25       activity, how would you go about figuring out Who is
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1        responsible for this log-in?

2        A.    Depending on the nature of the company running the proxy

3        server, law enforcement might be able to send more legal

4        process or they might be out of luck.

5        Q.    Would the first step be tracing back from Google to the

6        proxy service?

7        A.    Yes.   First you would have to research the IP and

8        determine which service it came from.

9        Q.    Now, and then would the second step be seeing whether you

10       could send a subpoena to the proxy service?

11       A.    Yes.

12       Q.    Do all proxy services respond to subpoenas to identify

13       their customers?

14       A.    No.

15       Q.    Do some proxy services advertise themselves as no logs or

16       completely anonymous and claim not to keep records about their

17       customers?

18       A.    Yes.

19       Q.    Are there different types of proxy connections?

20       A.    Yes.

21       Q.    Is one common type known as a SOCKS proxy?

22       A.    Yes.

23       Q.    Can you explain what a SOCKS proxy is at a very basic,

24       nontechnical level?

25       A.    You can think of it as an encrypted tunnel that goes to
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                                                                               22

1        one -- through some specific ports on the server, oftentimes

2        used to protect user names and passwords or the start of a

3        connection.    It is another added level of safety for browsing

4        the internet.

5        Q.    Can you explain at a very basic level what a port on a

6        server is?

7        A.    So in the example of visiting my friend's apartment, her

8        home address would be the IP address.         But the apartment door

9        number would be the port.      It is a further instruction of how

10       exactly at a high level the request gets to the server and how

11       it should be handled once it gets there.

12       Q.    And going back to the PowerPoint slide here, what if the

13       person is using Tor?     How would that person connect to the

14       Google account?

15       A.    Typically, they would open the Tor browser, click a button

16       to start the connection.      And then in the search bar at the

17       top, just like any other browser, they would type in their

18       website name.

19       Q.    Can you explain what is shown here on this slide?

20       A.    This represents the Tor network with its many computers.

21       Q.    And there are 12 or so nodes in that purple cloud shown

22       here.   Are there actually only 12 nodes in the whole Tor

23       network?

24       A.    No.

25       Q.    Are there many more than 12?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24    Page 23 of 117
                                                                                23

1        A.     Yeah, there are many more than 12.

2        Q.     And can you walk the jury through this slide here, as I

3        click through of how access to Google.com would work through

4        Tor?

5        A.     The connections through the Tor network will have multiple

6        stops.   So this slide is showing the -- showing you Google.com

7        request going to the first computer, to the second, to the

8        third, which is one of those special Tor nodes that handles

9        traffic out of the Tor network into the internet and that is

10       the one that will then go to Google.com.

11       Q.     Is there a special name for the computer that is shown in

12       purple here that is the last hop?

13       A.     Yes.

14       Q.     What is that?

15       A.     The exit node.

16       Q.     And what is the role of the Tor exit node?

17       A.     Tor exit nodes, apart from needing to handle a lot of

18       traffic, take on a little bit more risk.             Because it is the

19       exit node's IP address that will be visible to all of the

20       internet sites.

21       Q.     So in this example, what IP address is now showing up here

22       in Google's server log?

23       A.     The Tor exit node's IP address beginning in 64.79.

24       Q.     So what is the benefit of all of this bouncing around in

25       the Tor network from hop to hop rather than using just a single
     Case 1:21-cr-00399-RDM   Document 285    Filed 03/16/24   Page 24 of 117
                                                                                24

1        proxy?

2        A.    The main benefit is reliable anonymity.

3        Q.    Can you layer these different steps on top of each other,

4        for example, using a proxy to connect to Tor?

5        A.    You could, yes.

6        Q.    And can you explain what is shown here?

7        A.    This diagram shows an internet user who has a proxy set

8        up.   They first connect to the proxy server and then to the Tor

9        network.

10       Q.    So can you just talk through these connections here?

11       A.    So in this case, the connection goes from the user's home

12       IP to the proxy server, then to the first hop of the Tor

13       network, to the second.      And then to the 3rd, which is the exit

14       node and out to Google.com.         The IP address last shown is the

15       Tor exit node IP and, again, that is what appears in the log.

16       Q.    Are there any downsides to the user when connecting

17       through Tor or a proxy?

18       A.    It is very slow.     And a lot of websites keep track of

19       which servers are in the Tor network as does the Tor Project

20       itself.    So oftentimes if you try to use Tor to visit regular

21       websites you will have to do endless CAPTCHAs.

22       Q.    Why do websites add those additional CAPTCHAs or security

23       requirements or even block Tor?

24       A.    Because they are trying to cut down on abuse activity, so

25       misuse of their site, attacks against their site and other
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 25 of 117
                                                                               25

1        traffic that they might not want.

2        Q.    How do sites know when a user is coming through Tor?

3        A.    They maintain black lists, essentially like lists of IPs

4        that they keep up to date that come from different networks.

5        And one source of this is the Tor Project who freely publishes

6        the list of exit nodes.

7        Q.    Is there a name for the Tor Project list of exit nodes

8        that they maintain?

9        A.    They call it ExoneraTor.

10       Q.    Could you spell that for the court reporter?

11       A.    E-X-O-N-E-R-A, Capitol T, O-R.

12       Q.    Is that a list that is regularly relied on by members of

13       the cybersecurity profession?

14       A.    Yes.

15       Q.    Are all Tor nodes in the entire network available to be

16       used as exit nodes?

17       A.    No.

18       Q.    Can you explain that distinction?

19       A.    Users can contribute to the Tor Project by running servers

20       as Tor relays for example, which are only the middle hops in

21       the circuit.    They might not want to take on, as I mentioned,

22       the additional risk of being an exit node.           But it all depends

23       on how they set up or configure their Tor node.            But setting it

24       up as an exit node would have different steps.

25       Q.    And are there different settings for someone who wants to
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 26 of 117
                                                                               26

1        use Tor?

2        A.    Yes.

3        Q.    Can you explain what is shown here on this slide?

4        A.    This was a feature Tor browser used to have called the

5        Vidalia control panel which was A consolidated menu to start

6        and stop Tor.    And to choose what kind of server to come out of

7        geographically.

8        Q.    Could you circle and read the name of the feature next to

9        the black silhouette?

10       A.    "Use a new identity."

11       Q.    And generally speaking, what would that allow someone to

12       do?

13       A.    If you were browsing Tor or doing -- browsing the internet

14       using Tor, doing one type of activity and then you wanted a

15       fresh start by clicking this button, it ends the connection

16       through the three hops it currently has and starts you a new

17       one, coming out of a completely different server.

18       Q.    Did you review examples of Akemashite Omedetou encouraging

19       people to use this function?

20       A.    Yes.

21       Q.    Directing your attention to Exhibit 1, Bitcoin Talk post

22       number 78.

23                    THE COURT:    Before you do that, can I suggest we

24       take a minute to all stand up and stretch just for a second?

25                    MS. PELKER:   Yes, Your Honor.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 27 of 117
                                                                                  27

1                     Thank you, Your Honor.

2                     THE COURT:   All right.    Continue.

3        BY MS. PELKER:

4        Q.    And, CS Mazars, could you read this post from August 22nd,

5        2012 by Akemashite Omedetou?

6        A.    "It should be reachable right now.         If it is not, try

7        restarting Tor or press use new identity in the Vidalia control

8        panel."

9        Q.    Now, directing your attention to post number 91.                If you

10       could read the middle paragraph of the post by Akemashite

11       Omedetou from April 20th of 2013.

12       A.    If the website is not opening for you, you might want to

13       try use get new identity Tor function, which will relay you

14       through a different node or try the clearnet gate

15       http:\\gate.BitcoinFog.com.

16       Q.    We will talk a bit about the gate later.           But what is

17       Akemashite Omedetou telling Bitcoin Fog users about trying to

18       access the .onion site?

19       A.    If it is not working right away, they can refresh the

20       connection, essentially starting a completely new one by going

21       to get new identity.

22       Q.    Now, even though a criminal might use Tor or proxies, does

23       law enforcement still look at the IP addresses?

24       A.    Yes.

25       Q.    Why is that?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 28 of 117
                                                                               28

1        A.    Using Tor and especially coming out of some IPs for

2        example regionally can all be a way to describe a user's

3        internet browsing habits.      Everyone has a favorite combination

4        of tools or programs they have day to day.           It is their

5        preferences.    And so the more observations law enforcement can

6        make about how a user interacts with the internet and what

7        software they like, the more they can piece together who this

8        is and compare it against other computers that they find.

9        Q.    And as part of your work on this case, did you review

10       account log-in records for numerous accounts?

11       A.    Yes.

12       Q.    And did your work include looking at IP addresses used to

13       log into those accounts?

14       A.    Yes, it did.

15       Q.    Is that sort of analysis of IP log-ins something that you

16       often do in cases?

17       A.    Yes.

18       Q.    And why is that?

19       A.    Just about in every case there will be multiple logs,

20       multiple data sorts from different companies.            And it always

21       makes sense -- it almost always makes sense to compare them

22       side by side to see if you can find the same user or the same

23       time of online activity from source to source.            It is just a

24       way of putting the pieces together.

25       Q.    As you were looking at the IP used to access the accounts
     Case 1:21-cr-00399-RDM    Document 285   Filed 03/16/24   Page 29 of 117
                                                                                  29

1        in this case, did you notice any common types of accesses?

2        A.    Yes.

3        Q.    What was that?

4        A.    Some of the IP types or the access types I saw were from

5        connections that looked residential or business to me.                 Some I

6        determined to be proxy servers and some were Tor network at

7        various points.

8        Q.    And you spoke a bit to earlier, but to remind the jury how

9        are you able to know when something is a Tor IP address?

10       A.    I check the ExoneraTor list for a certain date and it will

11       say if it was part of the Tor network or not and whether it was

12       an exit node or not.

13       Q.    And how are you able to determine if something was likely

14       a proxy or a VPN IP address?

15       A.    Some of that information comes from the domain

16       resolutions.    Some online servers will have a unique name dot

17       the hosting provider company name.com.           So I start with the

18       naming conventions.      In some cases, I use that and the IP

19       address to look for lists of known proxy servers that were

20       posted online.       So in some cases I figured it out that way.

21       Q.    When you review records, do you take note of the time

22       zone?

23       A.    Yes.

24       Q.    If we could return to the PowerPoint and slide 10.               Could

25       you explain what the time zone UTC is?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 30 of 117
                                                                               30

1        A.     UTC, coordinated universal time is the standard time

2        zone -- it goes right through the middle of the world map.             And

3        other time zones are referenced by how far away from that time

4        zone they are listed as minus how many hours or plus how many

5        hours.

6        Q.     So is the blue line here showing everything that is in

7        UTC?

8        A.     Yes.

9        Q.     And what major world city -- there are several, but major

10       world city does UTC run through?

11       A.     London.

12       Q.     And now directing your attention to the box in the lower

13       left-hand corner.     What is shown there?

14       A.     This is the table of cities and the current time when the

15       table was recorded in each city.

16       Q.     And can you briefly explain the difference in the time in

17       those cities compared to the UTC and how it is offset?

18       A.     So the table shows that when it is noon in London, it was

19       this time 7:00 a.m. in DC, 1:00 p.m. in Gothenburg, Sweden and

20       3:00 p.m. in Moscow, Russia.

21       Q.     So if a server log has times that say UTC, what time zone

22       is it indicating the records are in?

23       A.     UTC plus zero, the coordinated universal time zone.

24       Q.     If the server were indicating a time zone that was 3 hours

25       ahead of UTC, how would that usually be written for a server
     Case 1:21-cr-00399-RDM    Document 285   Filed 03/16/24   Page 31 of 117
                                                                                31

1        log?

2        A.     UTC plus 3.

3        Q.     What about 5 hours behind UTC?

4        A.     UTC minus 5.

5        Q.     And what is Zulu Time?

6        A.     Zulu Time is functionally the same as UTC.           It is that

7        centralized time zone, maybe with some specific differences.

8        And it is indicated when you look at time stamps, like the full

9        date, time spelled out, you know it is in Zulu Time when it

10       ends in a Capitol Z.

11       Q.     When you review server logs, how do you typically

12       determine what time zone is used?

13       A.     I first look to see if it is explicitly indicated in the

14       logs.   I look for the plus or minus.         I look for the Z to see

15       if it is Zulu Time.      If neither of them are for some reason, I

16       look at the server's settings to see if a time zone was

17       specifically set.      If there is a line that says, yes, use local

18       time or not.    And if all of that is absent, the convention is

19       to use UTC.    So I treat it as UTC if there is no information at

20       all.

21       Q.     Turning your attention now to your review of evidence for

22       the Bitcoin Fog case.       Did you identify instances in which the

23       same IP address was used to access multiple accounts of

24       interest in the investigation close in time?

25       A.     Yes.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 32 of 117
                                                                               32

1        Q.    And did that include instances where the same IP address

2        was used to access accounts held in the defendant's true name

3        and otherwise anonymous accounts tied to Bitcoin Fog?

4        A.    I found --

5                     MR. EKELAND:   Objection.

6                     THE COURT:   What is the objection?

7                     MR. EKELAND:   It is argumentative and saying that

8        there is accounts tied to Bitcoin Fog and I think that lacks

9        foundation.

10                    THE COURT:   All right.    Overruled.

11                    THE WITNESS:   I found IP of interest in both the

12       data sources for the defendant's true name accounts and I also

13       looked at IP addresses from the accounts linked to Bitcoin Fog

14       meaning the Shormint and the Akemashite Omedetou accounts.

15       BY MS. PELKER:

16       Q.    Did you compile a spreadsheet that summarized the log-ins

17       of interest that you reviewed?

18       A.    Yes.

19       Q.    If we could pull up Exhibit 364, which is not yet in

20       evidence.    CS Mazars, could you describe generally what is

21       shown here?

22       A.    This is an Excel workbook containing the IP address of

23       interest, dates and times and the files or data sources I found

24       them in.

25       Q.    Does this exhibit accurately summarize the IP address
     Case 1:21-cr-00399-RDM   Document 285    Filed 03/16/24   Page 33 of 117
                                                                                      33

1        events that you noted in the accounts?

2        A.    Yes.

3                     MS. PELKER:    Government moves to admit and publish

4        Exhibit 364.

5                     THE COURT:    Any objection?

6                     MR. EKELAND:   Yeah.    One, hearsay; two, best

7        evidence.    It is not a reflection of the actual server logs.

8        This is an incomplete summary of all of the server traffic.

9        And it my understanding it is actually not based on the native

10       server logs.

11                    THE COURT:    Is this coming in as summary exhibit

12       or --

13                    MS. PELKER:    Yes.    Going in as a summary.

14                    THE COURT:    Exhibit 364 is admitted and may be

15       published to the jury.

16                    (Whereupon, Exhibit No. 364 was admitted.)
17       BY MS. PELKER:

18       Q.    CS Mazars, can you explain the structure of this

19       spreadsheet or worksheet?

20       A.    The far left column is the file name.           So the specific

21       file that I looked at that --

22       Q.    Apologies.     The structure of the workbook as a whole, I

23       said spreadsheet, the workbook as a whole.

24       A.    The workbook contains all of the IP addresses that I

25       compiled in this sheet in the first tab as a summary.                  And
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 34 of 117
                                                                               34

1        then, they are broken out by specific IP address in the

2        following tab.

3        Q.    Did you also prepare a chart to visually display your

4        findings?

5        A.    Yes.

6        Q.    If we could pull up Exhibit 363.        And with Mr. Pearlman's

7        assistance -- the physical print off of 363A.            And, CS Mazars,

8        does the chart that is shown here on your screen accurately

9        summarize your findings?

10       A.    Yes, in the spreadsheet, it does.

11       Q.    And is what is shown there held by Mr. Pearlman just a

12       print off of the same information from 363?

13       A.    Yes, it is.

14                    MS. PELKER:    Government moves to admit and publish

15       363 and 363A.

16                    THE COURT:    Any objection?

17                    MR. EKELAND:   Objection; hearsay on multiple hearsay

18       levels.

19                    THE COURT:    Exhibit 363 is admitted and 363A is

20       admitted and may be published to the jury.

21                    (Whereupon, Exhibit Nos. 363, 363A were admitted.)
22       BY MS. PELKER:

23       Q.    If we could zoom in a bit on what is on the screen.

24             CS Mazars, can you explain what is shown here on this

25       chart?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 35 of 117
                                                                               35

1        A.    In this chart, I tracked occurrences of IP addresses, just

2        answering the question, did the IP address appear in a specific

3        file.   And so the rows are shortened names of the account files

4        that I looked at.     The columns are IP addresses and where an

5        account and an IP meet.      If that IP appeared in that account's

6        records, it is green with an X.

7        Q.    And can you go down this list on the left, just so we are

8        clear what accounts we are talking about?

9        A.    The Bitstamp heavy indicates the Bitstamp account held by

10       the heavydist@gmail.com email.       BTC heavydist is the

11       heavydist@gmail.com BTC-e account.        BT Killdozer is the Bitcoin

12       Talk account for user Killdozer.        Local bit GothenCoin is the

13       LocalBitcoins account for the user named GothenCoin.

14             LR heavydist is the Liberty Reserve account for the

15       heavydist email.     Liberty Reserve Plasma is the Liberty Reserve

16       account for the plasma@plasmadivision email.           And LR Shormint

17       is the Liberty Reserve for the Shormint@hotmail.com email.

18       MTGOX Kolbasa is the Kolbasa user's Mt. Gox account.             And MTGOX

19       Peter NFS is the Mt. Gox account registered by the Peter NFS

20       user.

21       Q.    And the Peter NFS user, is that the same as the NFS9000

22       account?

23       A.    It is.

24       Q.    One is the username, one is the email?

25       A.    Yes.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 36 of 117
                                                                               36

1              Mt. Gox plasma is the Mt. Gox account for the

2        plasma@plasmadivision email.        Mt. Gox Volf.prius is the Mt. Gox

3        linked to the Volf.prius user.       And finally Twitter account,

4        Twitter cray Killdozer, the username is cray Killdozer.

5        Q.    So what is shown on this chart for the accounts is a mix

6        of the defendant's true name accounts and accounts opened in

7        the name Akemashite Omedetou or other aliases tied to Bitcoin

8        Fog; is that accurate?

9        A.    Yes.

10       Q.    Directing your attention to the IPs on the top.            Starting

11       with the first one on the left, the IP address ending in .123,

12       where did this IP address appear in the records?

13       A.    In the Liberty Reserve accounts for plasma@plasmadivision

14       and Shormint and the Mt. Gox accounts for Kolbasa and Peter NFS

15       and Volf.prius.

16       Q.    If we could turn now to Exhibit 364 and go to the chart

17       tab for that 123 IP address along the bottom.            CS Mazars, does

18       this summarize the findings for the .123 address?

19       A.    Yes.

20       Q.    Now, can you -- were you able to find out who likely

21       controlled that IP address at the time?

22       A.    Yes.

23       Q.    Who was that?

24       A.    I believe it was a company called Crypto VPN.

25       Q.    What was Crypto VPN?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 37 of 117
                                                                               37

1        A.    Crypto VPN was a virtual private network service.

2        Q.    If we could pull up Exhibit 507, which is not yet in

3        evidence.    CS Mazars, what is shown here?

4        A.    A website page for Crypto VPN.

5        Q.    And if we could scroll up at the top.          Was this site

6        captured by archive.org on a particular date?

7        A.    Yes.   It was an archive.org capture on, it appears,

8        2011/10/29.

9        Q.    And is this a fair and accurate copy of the website as

10       retrieved by the Way Back Machine or Archive.org for that date?

11       A.    Yes.

12                    MS. PELKER:    Government moves to admit Government

13       Exhibit 507?

14                    THE COURT:    Any objection?

15                    MR. EKELAND:   No objection.

16                    THE COURT:    507 is admitted and may be published to

17       the jury.

18                    (Whereupon, Exhibit No. 507 was admitted.)
19       BY MS. PELKER:

20       Q.    Was part of this page -- some of the headlines are in

21       English.     But was part of some of the text in Russian?

22       A.    Some of it, yes.

23       Q.    Did you also review a translated copy of this website?

24       A.    Yes.

25       Q.    If we could pull up 507B.      I believe this has been
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 38 of 117
                                                                               38

1        conditionally admitted by the translators.           CS Mazars, is this

2        a translated copy of the Crypto VPN page that we were just

3        looking at?

4        A.    Yes.

5                     MS. PELKER:    And the government moves to -- to the

6        extent that it was not previously admitted to admit 507B?

7                     THE COURT:    Any objection.

8                     MR. EKELAND:   No objection?

9                     THE COURT:    507B is admitted and may be published to

10       the jury.

11                    (Whereupon, Exhibit No. 507B was admitted.)
12       BY MS. PELKER:

13       Q.    CS Mazars, can you explain what is shown here just

14       generally?    We can zoom out a bit.

15       A.    The home page or landing page for Crypto VPN.com where it

16       describes its services.

17       Q.    If we could scroll down to the bottom.          What is shown in

18       the icons along the bottom here?

19             Keep scrolling.

20             Under Crypto VPN, when privacy matters?

21       A.    They are icons for payment methods.

22       Q.    Can you point to the Bitcoin payment icon?

23       A.    (Complying).

24       Q.    And Liberty Reserve?

25       A.    (Complying).
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 39 of 117
                                                                                   39

1        Q.     Returning now to Exhibit 364.      Why did you assess that the

2        .123 address was likely used by Crypto VPN at this time?

3                      MR. EKELAND:   Objection; leading.

4                      MS. PELKER:    She already testified that she made

5        that assessment.     I am asking why.

6                      THE COURT:    Overruled.

7                      THE WITNESS:   Primarily passive DNS records.           I

8        could see -- from what I remember I could see the IP address

9        was resolved to by some domains .CryptoVPN.com around this

10       time period, which would happen if it were a Crypto VPN

11       server.

12       BY MS. PELKER:

13       Q.     Did Crypto VPN come up elsewhere in your review of

14       evidence for this case?

15       A.     Yes.

16       Q.     Did that include payments from the Shormint Liberty

17       Reserve account?

18       A.     Yes, I believe so.

19       Q.     And was it also referenced in the defendant's notes?

20       A.     Yes.

21       Q.     Prior to your work on this case, had you heard of Crypto

22       VPN?

23       A.     No, I hadn't.

24       Q.     And is Crypto VPN still in business?

25       A.     Not to my knowledge.
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                                                                                 40

1        Q.    To be clear, since Crypto VPN is a proxy, could multiple

2        people have been using this .123 address in October of 2011?

3        A.    Yes.

4        Q.    Why was it significant to you that these accounts shown on

5        the screen were accessed from the same IP, even though it was a

6        proxy?

7                     MR. EKELAND:   Objection; leading.

8                     THE COURT:   Overruled.

9                     THE WITNESS:   Well, I first noticed this IP because

10       the log-ins between accounts -- the log-in to one account and

11       then to another account of note happened so close together,

12       that I flagged this IP for review and then pulled out all of

13       the times that it co-occurred.       So the closeness in time

14       either logging in or just accessing these accounts in general

15       was why it was significant.

16       BY MS. PELKER:

17       Q.    And can you walk us through these accesses shown here on

18       this screen?

19       A.    Yes.   The first one I saw was in the Liberty Reserve

20       Shormint account on 11/20/2011 at 12:14:30.           All times I am

21       listing in UTC time zone.

22       Q.    What was the next time you saw the IP after that?               You

23       don't have to walk through each of the time stamps, we can go

24       account by account.

25       A.    Account by account?     So the last occurrence in that block
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 41 of 117
                                                                               41

1        in the Liberty Reserve Shormint account was at 12:14:56.              And

2        then it appeared again in Mt. Gox Volf.prius account on

3        11/24/2011 at midnight and 25:12.

4        Q.    Were there several accesses that day from that IP address

5        to the Volf.prius account?

6        A.    Yes.

7        Q.    What was the last access on 11/24/2011 from that IP and

8        the Volf.prius account?

9        A.    It was 11:34 and 26 seconds.

10       Q.    Did the IP -- was the IP -- that same IP then used to

11       access Mr. Sterlingov's true name Liberty Reserve Plasma

12       account?

13       A.    Yes.   On the same day at 12:17:51.

14       Q.    So what is approximately the time difference there?

15       A.    Less than an hour.

16       Q.    And were there then multiple accesses to the Liberty

17       Reserve PlasmaDivision account on the 24th?

18       A.    Yes.

19       Q.    What was the last access?

20       A.    At 12:27:15.

21       Q.    Was that IP used to access another account of interest in

22       the case that same day?

23       A.    Yes.

24       Q.    What was that?

25       A.    The Mt. Gox account for Peter NFS.
     Case 1:21-cr-00399-RDM    Document 285   Filed 03/16/24   Page 42 of 117
                                                                                42

1        Q.    And when was that?

2        A.    14:51:21.

3        Q.    And was the account then of that IP address used to access

4        the Shormint account again the next day?

5        A.    Yes, it was.

6        Q.    And what times were those accesses?

7        A.    At 10:55:02, 29 seconds and 54 seconds.

8        Q.    When was the next time that IP came up in your analysis?

9        A.    Three days later on 11/28/2011 at 1:02:52 p.m.

10       Q.    What account was that used -- was at issue there?

11       A.    In the Mt. Gox Peter NFS account again, the same one as

12       before the Shormint account.

13       Q.    And were there multiple accesses of that account or

14       multiple activity on that account from involving that IP

15       address?

16       A.    I counted three occurrences of the IP address.

17       Q.    And what was the time of the last one?

18       A.    10:55:54.      I'm sorry.   I read the wrong line, 10:08:57.

19       Q.    And was that IP then used to access another account of

20       interest in this case that same day?

21       A.    Yes.

22       Q.    What was that?

23       A.    The Mt. Gox Kolbasa account later that same day.

24       Q.    What was the first time that that IP appeared on that day

25       for the Kolbasa account?
     Case 1:21-cr-00399-RDM   Document 285    Filed 03/16/24   Page 43 of 117
                                                                                43

1        A.    At 23:58:43.

2        Q.    Did it then -- were there several other accesses or events

3        in that account from that same IP?

4        A.    Yes.

5        Q.    And when did that continue up until?

6        A.    Up until the next day.        As you can see it was late in the

7        day on 11/28 just wrapping around to the next day 11/29/2011 at

8        8:39:16.

9        Q.    Did it then -- was the IP then used again to access the

10       Shormint account?

11       A.    Yes, it was the next day.

12       Q.    Why were these series of accesses across these different

13       accounts significant to you?

14                    MR. EKELAND:   Objection; leading.

15                    THE COURT:   Overruled.

16                    THE WITNESS:   Not only did I notice they were very

17       close together in time, I also noticed that the accesses would

18       go into one account.      And in some cases the same account would

19       occur later.    So first account, second account, back to first

20       account.     And noticing that, led me to -- was one of the

21       reasons that led me to group the activity together for review.

22       BY MS. PELKER:

23       Q.    And looking at this as a whole, what were you able to

24       assess about the accesses from this IP address across these

25       different accounts?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 44 of 117
                                                                               44

1        A.    The conclusion in this one or in the other report?

2        Q.    Just look at your assessment here for this IP address.

3        A.    Oh.   Yeah, this table I mostly used to keep track of it.

4        But I assessed that likely the same user -- as I explained in

5        more detail in another report -- accessed many of these

6        accounts.    I considered most of the activity to be from the

7        same user.

8        Q.    Returning your attention to Exhibit 363, so the summary

9        chart.   And if we could look at this next IP of 212.16.7.171.

10       Could you explain what is shown on this chart with respect to

11       that 171 IP of what accounts it was used to access?

12       A.    It shows that IP was present in the logs for the Mt. Gox

13       accounts for users Kolbasa account and Peter NFS.

14       Q.    Turning your attention back to the spreadsheet and going

15       now to the .171 tab, does this tab list the individual

16       occasions where that individual IP address appeared in the

17       records for those individual accounts?

18       A.    Yes, it did.

19       Q.    Can you walk through these accesses here?

20       A.    On 10/25/2011, the Mt. Gox Peter NFS account was accessed.

21       And then in the next minute at 13:40:28 that IP accessed the

22       Mt. Gox Kolbasa account.

23       Q.    What was significant to you about the timing of these

24       accesses?

25                   MR. EKELAND:    Objection; leading.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 45 of 117
                                                                                  45

1                     THE COURT:   I mean, you can ask was something

2        significant I guess and then what was significant.

3        BY MS. PELKER:

4        Q.    What, if anything, was something significant about the

5        timing of these accesses?

6        A.    These accesses were extremely close together in time for

7        two different accounts on the same website.

8        Q.    What did that indicate to you?

9        A.    To me, this looked like a user logging into one Mt. Gox

10       account and then logging in or accessing in some way one

11       Mt. Gox account and then checking the other.

12       Q.    Directing your attention back to the large chart at

13       Exhibit 363 and continuing across the top to the third IP.                Was

14       IP address 213.66.214.217 another one of the IP addresses that

15       came up in your analysis?

16       A.    Yes.

17       Q.    What accounts were accessed from that IP address?

18       A.    The Bitstamp account for heavydist and the Bitcoin Talk

19       account for Killdozer.

20       Q.    And returning now to the next step in the spreadsheet,

21       Exhibit 364, the 217 tab.      Can you explain what is shown here?

22       A.    In this table, I record that the BT Killdozer account,

23       Bitcoin Talk, was accessed on 12/27/2012 at 11:29:08.                 And then

24       10/24/2013 the same IP appeared in records for the Bitstamp

25       heavydist account.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 46 of 117
                                                                               46

1        Q.    Were you able to determine who likely controlled this IP

2        address at the time?

3        A.    Yes.

4        Q.    What was that?

5        A.    It appeared to be a Swedish internet service provider

6        called Telia.

7        Q.    And these accesses are further apart than the others we

8        have looked at.      What was your assessment about these accounts,

9        given the type of IP address it was?

10                    MR. EKELAND:   Objection.     Counsel was testifying

11       about the temporal space between the log-ins and the question

12       is leading.

13       BY MS. PELKER:

14       Q.    Were those account accesses further apart than the other

15       ones we just looked at?

16       A.    Yes, they were.

17                    MS. PELKER:    We are just trying to move things

18       along.

19                    THE COURT:    I understand.

20       BY MS. PELKER:

21       Q.    Even though they were farther apart, did the type of IP

22       address factor into your analysis?

23       A.    Yes.

24       Q.    And could you explain that?

25       A.    So local home router and business router IP addresses
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 47 of 117
                                                                               47

1        don't change as often as sometimes IP address of services on

2        the internet.    A user of a VPN, for example, might change their

3        address more quickly.      Home and business IP addresses do change

4        from time to time.     But depending on the country and provider,

5        it tends to be months apart from change to change.             It tends to

6        stay more stable.

7        Q.    Returning to Exhibit 363, our chart.           And we are now

8        almost at the middle of IP address 61.19.252.148.             Was this

9        another IP that came up in your analysis?

10       A.    Yes.

11       Q.    What accounts were accessed from that IP address?

12       A.    The Liberty Reserve Plasma account and the Mt. Gox

13       Volf.prius account.

14       Q.    If we could turn to the next tab in the spreadsheet.

15       Could you walk through the account activity from this .148 IP

16       address?

17       A.    I first saw it in Liberty Reserve account for

18       plasma@plasmadivision on 10/8/2011 at 1:26 and 11 seconds.               A

19       few other accesses very shortly after.          And then, it appeared

20       in the Mt. Gox Volf.prius account, accessing it the same day at

21       13:36:16.

22       Q.    Were you able to determine who likely or what company

23       likely controlled this IP address at the time?

24       A.    Yes.   The address itself appeared to be owned by a Thai

25       company called CAT Telecom.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 48 of 117
                                                                               48

1        Q.    Were you able to assess how it was likely used?

2        A.    Yes.   I believe it was a proxy server at the time.

3        Q.    Why were those accesses significant to you, even though it

4        was a proxy server that multiple people could have been using?

5                     MR. EKELAND:   Objection; leading.

6        BY MS. PELKER:

7        Q.    Was this a proxy server that multiple people could have

8        been using?

9        A.    Yes.   An available public proxy server.         Sometimes they

10       get posted online and people connect to them.

11       Q.    Why are these accesses nonetheless significant to you?

12       A.    They were still on the same day, a few hours apart, these

13       accounts that we were reviewing so I included them.

14       Q.    Going back to the chart of Exhibit 363A.           Was IP address

15       70.90.169.13 one of the IP addresses that came up in your

16       analysis?

17       A.    Yes.

18       Q.    Where did this IP address appear in the records?

19       A.    Shormint Liberty Reserve account and Kolbasa's Mt. Gox

20       account.

21       Q.    And going back to your spreadsheet, the .13 tab, can you

22       explain what is shown here?

23       A.    The first accesses were to the Kolbasa Mt. Gox account on

24       10/20/2011.    The last one of those I saw was at 7:04:34.            And

25       then about 5 minutes later, the same day, the IP appeared to
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 49 of 117
                                                                               49

1        access the Liberty Reserve Shormint account.

2        Q.    And were there multiple -- was there just one or multiple

3        occurrences of this IP in the Shormint account on 10/20?

4        A.    Yeah, multiple, there were a bunch.

5        Q.    And were you able to determine how this IP was likely

6        used?

7        A.    I believe this was what is known as a residential proxy,

8        so a proxy server that is being run off of a business or home

9        internet service provider's network, in this case Comcast.

10       Q.    And since it was a proxy, could multiple people have been

11       using it at this time?

12       A.    Yes.

13       Q.    Even though that was the case, why were these accesses

14       significant to you?

15       A.    The change from one account to another 5 minutes apart,

16       both on these virtual payment currency websites, led me to

17       believe this was the same user logging into one and then the

18       other.

19       Q.    Returning to the chart, and we are now at the third from

20       last, was IP address 83.248.132.4 one of the IP addresses that

21       came up in your analysis?

22       A.    Yes.

23       Q.    Where did this IP address appear in the records?

24       A.    The Bitstamp heavydist account, the BTC-e heavydist

25       account, Bitcoin Talk Killdozer, LocalBitcoin for user
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 50 of 117
                                                                               50

1        GothenCoin, Liberty Reserve account for heavydist and Liberty

2        Reserve for plasma@plasmadivision.        Additionally, the Mt. Gox

3        account for plasma and Twitter for cray Killdozer's account.

4        Q.    And so are these many of the defendant's true name

5        accounts?

6        A.    Yes.

7        Q.    Did you find any indication that a particular web domain

8        was hosted at this IP address?

9        A.    Yes.

10       Q.    Do you recall what that web domain was?

11       A.    I believe it was Bloom Editor.

12       Q.    Did Bloom Editor appear elsewhere in your review of the

13       evidence in this case?

14       A.    Yes.

15       Q.    And do you recall who controlled the Bloom Editor domain.

16       What individual started or registered the Bloom Editor domain?

17                    MR. EKELAND:   Objection; leading.

18                    THE COURT:   Overruled.

19                    THE WITNESS:   I don't remember what was in the

20       domain registration record off the top of my head.

21       BY MS. PELKER:

22       Q.    Could we pull up what was previously admitted as

23       Government Exhibit 521A.

24             And, CS Mazars, can you note the name on this Namecheap

25       record here?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 51 of 117
                                                                               51

1        A.    It says Roman Sterlingov.

2        Q.    If we could go to page 2 and zoom in on the top entry on

3        this page here.      What domain is noted here as being registered

4        for Mr. Sterlingov's Namecheap account or renewed for

5        Mr. Sterlingov's Namecheap account?

6        A.    Bloomeditor.com.

7        Q.    Does that refresh your recollection of what individual?

8        A.    Yes.   I'm sorry.    Yes, it does.

9        Q.    So who registered the or renewed and controlled the

10       bloomeditor.com domain?

11       A.    Roman Sterlingov.

12       Q.    Now, directing your attention to Exhibit 12, the Bitcoin

13       user records.    If we could scroll to the bottom of page 5 for

14       the defendant's Kellerman account.        And just scroll up so we

15       can see the username and scroll up a bit more.            And, CS Mazars,

16       can you read from Exhibit 12 what account this section relates

17       to?

18       A.    Killdozer.

19       Q.    And scrolling down just slightly, what domain is shown in

20       the signature line for the Killdozer account?

21       A.    Bloomeditor.com.

22       Q.    Can you underline that or point to it under the signature?

23       A.    (Complying).

24       Q.    Returning to Exhibit 364, staying on the tab for the .4 IP

25       tied to the defendant's true name accounts.           Were you able to
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 52 of 117
                                                                                 52

1        determine anything about how this .4 IP address was used?

2        A.    This appeared to be a Swedish residential or a business

3        local IP address for a company called -- local meaning

4        regional, not in the computer sense, for a company called

5        Comhem.

6        Q.    And were you able to determine whether this IP address was

7        ever used as a Tor exit -- as a Tor node?

8        A.    I believe it was a Tor node at some point.

9        Q.    Directing your attention now back to Exhibit 363.               Was IP

10       address 23.254.53.11 one of the IP addresses that came up in

11       your analysis?

12       A.    Yes.

13       Q.    Where did this IP address appear in the records?

14       A.    Bitcoin Talk, the Killdozer account, the

15       plasma@plasmadivision.com Liberty Reserve account and the

16       Mt. Gox Plasma account.

17       Q.    Turning now to the spreadsheet, the .11 tab.            Does this

18       document the occasion where the IP appeared repeatedly in the

19       records?

20       A.    Yes.

21       Q.    Did you determine what IP controlled this address?

22       A.    Like the previous one, Comhem, the Swedish ISP.

23       Q.    Was this IP address used as a Tor node?

24       A.    Yes, at some points it was.

25       Q.    If we were looking at your Tor PowerPoint slides with that
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 53 of 117
                                                                               53

1        Tor cloud in the middle, where would that -- this .11 IP

2        address fall within the Tor network routing?

3        A.     In the middle.     So not one of the outer exit nodes that

4        accessed the internet, but one of the internal only ones.

5        Q.     And so what was the significance of someone running a Tor

6        node during this time?

7                     MR. EKELAND:   Objection; leading.

8                     THE COURT:   Overruled.

9                     THE WITNESS:   This would indicate that someone using

10       a residential or business network wanted to contribute to the

11       Tor Project by letting Tor traffic pass through their

12       computer, but didn't want it directly exposed to the internet.

13       BY MS. PELKER:

14       Q.     And so if you are observing traffic that is coming out of

15       this IP at that time is that likely to be Tor traffic exiting

16       Tor?

17       A.     No.   Not various users' Tor traffic and even the user of

18       the IP address would come out of a different one than their own

19       based on how Tor works.      So looking at this IP's traffic, it

20       would be the regular, everyday traffic typically, not Tor

21       traffic.

22       Q.     Can you explain why that is in relation to being an exit

23       node versus an internal node?

24       A.     The network theoretically could be used for both at the

25       same time.    Even someone running a Tor relay, one of these
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 54 of 117
                                                                                 54

1        middle nodes, would still want to access the internet normally.

2        So they -- they would, as they typically would, while a

3        computer or server on the network is running the Tor relay.

4        Q.    Now, going back to Exhibit 363.        Was Exhibit -- was IP

5        address 95.168.163.228 one of the IP addresses that came up in

6        your analysis?

7        A.    Yes.

8        Q.    And where did this IP address appear in the records?

9        A.    The Liberty Reserve Shormint account and the Mt. Gox

10       Kolbasa account.

11       Q.    And directing your attention to your spreadsheet.               Going

12       to our last tab.     Can you explain what is shown here?

13       A.    The access to Mt. Gox Kolbasa, there were a couple of

14       them.   The last one I saw was on 10/9/2011 at 15:12:17.              Then

15       the IP was used to access the Liberty Reserve Shormint account,

16       the next day, 10/10/2011 at 2:02 p.m.         And then again that same

17       day, it was used to access the Mt. Gox Kolbasa account again at

18       14:04:30.

19       Q.    What, if anything, was significant to you about the

20       sequence and timing here?

21       A.    Similar to a previous example we see some relatively close

22       together log-ins to two of these exchange or currency-type

23       websites.    One, the second one, then back to one.           And to me,

24       this very much looked like the same user was checking different

25       accounts.
     Case 1:21-cr-00399-RDM    Document 285    Filed 03/16/24   Page 55 of 117
                                                                                 55

1        Q.    In addition to your IP overlap analysis, was there another

2        IP of note in the Shormint Liberty Reserve account?

3        A.    Yes.

4        Q.    Directing your attention to Exhibit 401 and going to

5        history sheet.       Generally, what is shown here in this history

6        sheet for the Shormint account?

7        A.    Activity records, which actions were taken from which IP

8        and when.

9        Q.    Directing your attention to row 4.           Can you read the IP

10       address that is noted in that row?

11       A.    95.109.103.113.

12       Q.    And did you review the Who is information for that IP

13       address?

14       A.    Yes, I did.

15       Q.    Showing you Exhibit 367, which --

16                    THE COURT:    I'm sorry.     Is 401 in evidence yet?

17                    MS. PELKER:    Yes.

18                    THE COURT:    Okay.     All right.    I wanted to check

19       that.

20                    MS. PELKER:    But this Exhibit 367 is not.

21                    THE COURT:    Okay.

22                    THE COURTROOM DEPUTY:       I'm sorry.     What number?

23                    MS. PELKER:    367.

24       BY MS. PELKER:

25       Q.    CS Mazars, what is shown here?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 56 of 117
                                                                               56

1        A.    A Who is record for the IP address 95.109.103.113.

2        Q.    And does this fairly and accurately depict the Who is

3        information for that IP address?

4        A.    Yes.

5                     MS. PELKER:    Government moves to admit and publish

6        Exhibit 367.

7                     THE COURT:    Any objection?

8                     MR. EKELAND:   No objection.

9                     THE COURT:    367 is admitted and may be published to

10       the jury.

11                    (Whereupon, Exhibit No. 367 was admitted.)
12       BY MS. PELKER:

13       Q.    CS Mazars, what entity is listed as controlling this IP

14       address used to access the Shormint Liberty Reserve account?

15       We'll need to scroll down a bit.        And then keep scrolling down

16       and back up for the abuse.

17       A.    The whole net block or what is being shown.

18       Q.    Wherever the IP address falls, what entity is the

19       responsible for abuse contact for that IP?

20       A.    Oh, the entity falls within Riksnet, but the abuse contact

21       was for Telia.

22       Q.    Could you explain what Telia is?

23       A.    A Swedish internet service provider similar to Comcast,

24       for example.

25       Q.    And is there a point of contact given for the Riksnet
     Case 1:21-cr-00399-RDM    Document 285   Filed 03/16/24   Page 57 of 117
                                                                                57

1        information on this Who is record the same way there was for

2        the DOJ example we looked at?

3        A.    Yes, there is.

4        Q.    What is the city listed in this information as associated

5        with this IP address?

6        A.    It says, Goteberg, Sweden.

7                   MS. PELKER:      Your Honor, we are happy to keep going.

8        This would be a fine time to --

9                   THE COURT:     That is fine.      So why don't we take our

10       morning break.       Now it is 10 minutes to 11:00.        And let's come

11       back at 10 minutes after 11:00.         And I will remind you, don't

12       discuss the case amongst yourself, no research of any kind

13       relating to the case and I will see you back in 20 minutes.

14                  (Jury out at 10:49 a.m.)

15                  THE COURT:     All right.     And the witness can take her

16       break as well.

17                  Anything either party wants to raise before the

18       break?

19                  MS. PELKER:      Nothing from the government, Your

20       Honor.

21                  MR. EKELAND:      Nothing for the defense, Your Honor.

22                  THE COURT:     All right.     I will see you back in 20

23       minutes.

24                  (Recess taken at 10:50 a.m.)

25                  THE COURT:     All right.     Ready to call the jury?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 58 of 117
                                                                               58

1                     MS. PELKER:   Yes, Your Honor.

2                     THE COURT:    Okay.

3                     (Jury in at 11:18 a.m.)

4                     THE COURT:    All right.   Welcome back, members of the

5        jury.

6                     And you may continue, Ms. Pelker.

7                     MS. PELKER:   Thank you, Your Honor.

8        BY MS. PELKER:

9        Q.    CS Mazars, in addition to the IP analysis you just

10       testified to, did your work on the Bitcoin Fog case include

11       reviewing records related to the BitcoinFog.com clearnet site?

12       A.    Yes.

13       Q.    If we could pull up Exhibit 2 which has been previously

14       admitted.    This should be the archive post for Bitcoin Fog.

15       Thank you.

16             CS Mazars, could you explain what this is?

17       A.    This is an archive.org capture of the Bitcoin Fog clearnet

18       portal website.

19       Q.    Can you explain to the jury what is involved in setting up

20       and managing a web page like this?

21       A.    In this case, looking at custom build, you would need to

22       know a little bit about web servers, how to build a webpage

23       graphically with HTML and CSS.

24       Q.    So in order to actually have visitors to be able to see

25       this content when they type in BitcoinFog.com, what does the
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 59 of 117
                                                                                  59

1        administrator have to do first?

2        A.    Purchase and register a domain, the BitcoinFog.com domain.

3        Q.    Did you review content from Akemashite Omedetou describing

4        the Bitcoin Fog service setup related to putting up the content

5        tied to Bitcoin Fog?

6        A.    Yes.

7        Q.    And if we could go to page 2 here under, Why us.                Can we

8        have you read from this one section at a time and explain to

9        the jury some of the technical terms.

10             Can you read the second from the second paragraph under

11       why us, starting one block at a time with the service is run?

12       A.    "The service is run on a dedicated server manually

13       configured for this very purpose, which does publically

14       connected from the internet, not needed if using Tor."

15       Q.    Can you explain what that means?

16       A.    This is saying that the server wasn't automatically

17       provisioned.    It was set up specifically for this site and it

18       only ran this site.     And it is a regular website you could

19       visit, not a .onion Tor service.

20       Q.    Can you read the next sentence?

21       A.    "Bitcoin daemon is run on another machine.           And all

22       suspicious activity is monitored and the website shuts down

23       automatically if it even senses it is under attack."

24       Q.    Could you explain the first part of that sentence, Bitcoin

25       daemon is run on another machine?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 60 of 117
                                                                               60

1        A.    So this is saying they have the web server and then a

2        different server, most likely, that are connected to talk to

3        one another.    One is running the Bitcoin service, the daemon.

4        That handles whatever Bitcoin processing or transactions are

5        happening.    That lives on one machine and that the website is

6        on another machine.     And it alludes to some kind of monitoring

7        whereas if it notices something, maybe too many connections or

8        the wrong type of connections hitting the server, it claims to

9        be able to automatically shut down to protect itself from that.

10       Q.    Can you read the last sentence in this paragraph?

11       A.    "It is manually monitored and checked on a daily basis."

12       Q.    Going now to the next paragraph.        Could you read starting

13       with, for security purposes?

14       A.    "For security purposes, the service operates through the

15       Tor network only.     You can be sure your data is processed

16       securely and only by our server if you use our .onion address.

17       On the other hand, this also makes us feel more secure knowing

18       that we will never be found and dealt with by proper

19       authorities.    Even if Tor network would be compromised, we have

20       taken all of the necessary precautions to still stay hidden.

21       This is better for you as well, while a freenet service may

22       swear on not cooperating with authorities in case they show up

23       at their homes, we can say with high certainty that not only

24       will we not cooperate with any authorities, the authorities

25       will not actually be able to show up at our doorstep because
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 61 of 117
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1        finding a Tor doorstep has proven difficult."

2        Q.    What is your understanding of what this means?

3        A.    That even though the service could be visited, the --

4        through the internet, although not -- also through Tor, it is

5        designed with protecting its own security and its own identity

6        in mind.   I understand the authorities to mean governments and

7        law enforcement.     And this paragraph is meant to make users

8        feel more secure using this site and to reassure them that this

9        site itself, the servers running it, are never going to be

10       found.

11       Q.    Going down now to page 3.      Can you read this second

12       paragraph here starting with, And once again?

13       A.    "And once again, running through Tor makes it not likely

14       for us to be shut down under pressure from the authorities.

15       When in doubt about this, consider Silk Road."

16       Q.    Had Silk Road been shut down at the point when this was

17       posted?

18       A.    No, not yet.

19       Q.    So what is Akemashite Omedetou saying here about the

20       benefit of running the site through Tor?

21       A.    Anonymity, specifically Silk Road was the standard at the

22       time for a darknet site where no one knew where it was.               And he

23       is comparing Bitcoin Fog to that.

24       Q.    Did you also review Bitcoin Talk posts made by Akemashite

25       Omedetou describing the Bitcoin Fog service?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 62 of 117
                                                                               62

1        A.    Yes.

2        Q.    If we could pull up Exhibit 1, the Bitcoin Talk thread.

3        And go to post number 16.      16 should be the bottom of page 8.

4              Can you read the second paragraph of this post by

5        Akemashite Omedetou from October 28th, 2011, starting with as

6        for logs?

7        A.    "As for logs, based on my experience, with similar web

8        applications, any website that says, 'We don't keep logs at

9        all, not even for 1 second' are basically lying.            What if the

10       server crashes in the middle of a transaction?            What if your

11       server was down for hours yesterday and you don't know why?

12       Et cetera, et cetera.      No good web master or programmer will

13       have such a service running without any logs at all.             That is

14       why our policy is to be open about this and make sure

15       everything is deleted after one week by making this automatic.

16       For any reasonable debugging purposes, a week of records will

17       be more than enough.     And if users are very concerned, they

18       could wait for a week before using the money on the new address

19       knowing that now even we don't have any information about them,

20       except what is recorded in the blockchain."

21       Q.    So what is your understanding of what Akemashite Omedetou

22       is saying here?

23       A.    Since many anonymity focused services will advertise no

24       logs, no logging, Akemashite Omedetou is pointing out that is

25       not really doable or practical in real life.           He is saying to
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 63 of 117
                                                                               63

1        keep any website like this running, you need to have the logs

2        because the logs exist for debugging, figuring out what may

3        have happened to your server and what connected to it if

4        something went wrong.      So he is essentially saying here, he is

5        not going to lie about there being no logging.            There are logs,

6        so that he can keep the site running properly.            But that he set

7        them up to auto delete after a week.

8        Q.    Going now to the next paragraph about the -- could you

9        read about the 2 percent fee?

10       A.    "For 2 percent, do you think we should charge more to

11       lessen the blockchain bloating?        Right now that value seems

12       enough.   As for having it free, we do indeed care for the

13       future of Bitcoins and it feels good to be able to help the

14       community and ourselves.      But developing the solution, running

15       the server, making changes, that all takes time and effort,

16       which we think should be rewarded.        Plus this makes sure the

17       service will stay operational.       No one shuts down a service

18       that is making one money."

19       Q.    What is Akemashite Omedetou saying here about the work

20       required to run the Fog service?

21       A.    That it is expensive.     It is not free, it takes time which

22       has value and it actually takes money.

23       Q.    If we could go now to post number 35.          Could you read from

24       this post by Akemashite Omedetou in November 11th, 2011, the

25       paragraph under the second quote box started with, this is an
     Case 1:21-cr-00399-RDM    Document 285   Filed 03/16/24   Page 64 of 117
                                                                                64

1        unfortunate scenario?

2        A.    "That is an unfortunate scenario you are describing.             And,

3        of course, it is possible.       It is also possible that a

4        lightning strikes our servers and all of the backup locations,

5        which will be unfortunate as well.         But to this point, we have

6        been going into this with the intention to make the risks as

7        low as possible.      And we have outlined both here and on the

8        BitcoinFog.com which steps we have taken."

9        Q.    So what does this post indicate to you about Akemashite

10       Omedetou's claims about the Fog backup servers?

11       A.    That he is claiming that they will be sufficient, that he

12       is not going to have a critical failure that results in

13       everyone's money or Bitcoin being lost because he has some kind

14       of fail over plan.      And so he is saying that -- he is not

15       claiming that it is impossible, since anything is possible.

16       But that -- basically to reassure his users that it won't

17       happen.

18       Q.    Going now to page 20.      And can we read under the first

19       quote box starting with the Bitcoin D service?

20       A.    "The Bitcoin D service is run on a different machine than

21       the front end.       They communicate by the means of a database.

22       The database engine is not run on the same machine as the front

23       end either.    The front end does not have access to the private

24       keys."

25       Q.    Can you explain what this tells you about how Akemashite
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 65 of 117
                                                                               65

1        Omedetou claims these Bitcoin Fog servers are configured?

2        A.     He claims there are multiple servers working together.

3        One hosts the website that users can see.            One is running the

4        Bitcoin service to handle transactions.          And one of the

5        machines, but not the one that has the website on it, is

6        storing the private keys.      He is also saying that database is

7        separated where all of the information is retrieved from.             But

8        he doesn't say which server it is on.

9        Q.     Can you read the next paragraph starting with, I might be

10       able to answer?

11       A.     "I might be able to answer more specific questions, but I

12       will not reveal much more about our exact configuration,

13       because while it might be reassuring to you, it could also aid

14       a hypothetical attacker.      And any attacker would love the owner

15       of a server to describe how it is built and set up" with an

16       emoji.

17       Q.     What is Akemashite Omedetou saying here?

18       A.     That it is not really smart for him to describe the entire

19       layout and setup of his computer because -- of his website

20       because it would be easier to attack.

21       Q.     Can you read the next two paragraphs underneath the quote

22       box?

23       A.     "It does not actually have a public IP.         This is the

24       reason we are running it through Tor."

25       Q.     And the next paragraph?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 66 of 117
                                                                                  66

1        A.    "For more information about Tor hidden services, please

2        read up on their website."

3        Q.    What is he emphasizing here about running fog through Tor?

4        A.    He is saying that you only reach Bitcoin Fog at some point

5        through Tor.    Even if there is a clearnet way to get to it, all

6        of the traffic goes through the Tor network.           It does not have

7        its own IP address that can accept clearnet requests from the

8        internet.

9        Q.    Can you read the next paragraph starting with, now even

10       if?

11       A.    "Now even if the Bitcoin Fog service would run through

12       Tor, we could still be running other publically available

13       services on that machine or even put the whole thing on a

14       shared hosting, if we were douche bags, but luckily we are not"

15       smiley face.

16       Q.    What does he mean by that?

17       A.    He is emphasizing that he is reinforcing the security of

18       the site by having it on a dedicated server, not running any

19       side projects on it.

20       Q.    Can you read the next paragraph of both servers?

21       A.    "Both servers are running secure OSes with proper

22       settings, are updated regularly and are behind a NAT.                 We also

23       did manual port scans on them even from within the NAT to check

24       the security."

25       Q.    What does Akemashite Omedetou mean by that?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 67 of 117
                                                                               67

1        A.    By OS, he means operating system.         He is saying that they

2        are all up to date.     So there shouldn't be any known

3        vulnerabilities, that he does all of the updates.             And that

4        they all -- all of their traffic goes to a central IP using

5        networked address translation.       Port scans is when you scan

6        your server, essentially, for services running to make sure,

7        for example, you didn't misconfigure it.

8        Q.    Could you now move to post number 107.          And can you read

9        the first paragraph of this post by Akemashite Omedetou from

10       November 23rd of 2013?

11       A.    "I have had a lot of server issues in the last couple of

12       days, many new users have joined.        And a lot of infrastructure

13       had to be updated.     We should have, of course, done this before

14       the increase in usage not after.        But we are learning from our

15       mistakes and continuing to innovate."

16       Q.    Can you explain what your understanding is of Akemashite

17       Omedetou's post here?

18       A.    My understanding is that servers can only support so many

19       users before they need to be upgraded and that his user base

20       grew too quickly, so the server started struggling and needed

21       to be upgraded.

22       Q.    Going now to post number 111 on the next page.

23             And could you read the first paragraph from this?

24       Actually, could you read the post here dated November 26th of

25       2013?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 68 of 117
                                                                               68

1        A.    "One of the servers have completely crashed under the

2        pressure today.      And we have now finally could move everything

3        to the backup server and are up and running.           Since the servers

4        have to be purchased and administered anonymously, this creates

5        a lot of overhead time.      We have used the log information to

6        put update the latest full backup to the state just before the

7        crash, so all the financial accounts should be in the

8        consistent state."

9        Q.    Can you explain what is -- what your understanding is of

10       this post?

11       A.    One of the servers went down because it got overloaded by

12       the traffic.    The backup data that he saved so that everyone

13       didn't lose their money has gotten restored over.             And he is

14       explaining the amount of time it took by saying that

15       registering infrastructure, so servers and domains anonymously

16       takes time, because all of the information isn't real.

17       Q.    If we can now go to the next page, post number 216.             And

18       can you read from this post on April 7th of 2014?

19       A.    "The process is now complete.       All systems returned to

20       normal operation.     Sorry for taking this long, but given the

21       specifics of our service and the dangers we have to face, we

22       have to take all of the necessary precautions and that takes

23       time.   Thank you all for your patience."

24       Q.    And could you explain what your understanding is of this

25       post?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 69 of 117
                                                                               69

1        A.    I understand the specifics of our service, meaning that it

2        is a Bitcoin mixer.     And the dangers we have to face to mean

3        law enforcement from different countries.            The post as a whole

4        I understand to mean he has to be careful when setting up any

5        part of it to avoid identification.

6        Q.    CS Mazars, did you review payments made from the Shormint

7        Liberty Reserve account for various services?

8        A.    Yes.

9        Q.    If we could pull up Exhibit 401 for the Liberty Reserve

10       and go to the transactions tab.        Can you explain what is shown

11       in row 4 and row 9?

12       A.    Row 4 seems to record an invoice for highhosting.net and

13       so does row 9.

14       Q.    And we'll talk about the High Hosting payments later.            But

15       first I'd like to direct your attention to line 5.             What is the

16       service there noted that the Shormint account is paying for?

17       A.    Account replenishment.

18       Q.    And what is the account noted in account C that is being

19       paid?

20       A.    U5271070 Crypto VPN.

21       Q.    And what is Crypto VPN?

22       A.    A VPN service.

23       Q.    Is that the same Crypto VPN that we have -- that you

24       referred to in your previous testimony?

25       A.    Yes, that is how I understand it.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 70 of 117
                                                                               70

1        Q.    And directing your attention to line 6, what is the

2        service noted there?

3        A.    Pay to access SSC services, user ID 15025.

4        Q.    And what is the account name that payment is being made to

5        in the C column?

6        A.    Super Socks.

7        Q.    Are you familiar generally with Super Socks?

8        A.    Yes, in general.

9        Q.    What is it?

10       A.    Super Socks, the same as SSC, was a paid proxy server

11       service that was advertised on a number of forums.

12       Q.    As part of your work on the Fog case, did you review

13       additional records regarding the registration and maintenance

14       of the BitcoinFog.com domain?

15       A.    Yes.

16       Q.    If we can take this exhibit down for now.

17             CS Mazars, can you explain what is a domain name?

18       A.    A domain name is a website name you could type in to get

19       to the website.      It is the main part of it, as opposed to

20       anything before the first dot, which might be a subdomain.

21       Q.    So if you are talking about http://www.Google.com, how

22       does that relate to a domain name?

23       A.    Google.com is the domain name.

24       Q.    How do you get a domain name?

25       A.    You need to pay for it and in most cases and register it
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 71 of 117
                                                                               71

1        through a service that owns large blocks of domains and leases

2        them out.    You essentially rent it for a period of time.

3        Q.    What are some examples of companies that offer that sort

4        of domain name registration?

5        A.    Namecheap and GoDaddy.

6        Q.    If we could pull up Exhibit 362, which is not yet in

7        evidence.

8              CS Mazars, can you describe generally what is shown here

9        in Exhibit 362?

10       A.    This is a screenshot of a checkout cart for a GoDaddy

11       domain purchase.

12       Q.    Would this visual help the jury understand your testimony

13       about domain name registration?

14       A.    Yes.

15                    MS. PELKER:    Government moves to publish as a

16       demonstrative Exhibit 362.

17                    THE COURT:    Any objection?

18                    MR. EKELAND:   No objection.

19                    THE COURT:    The government may publish 362 as a

20       demonstrative.

21                    (Whereupon, Exhibit No. 362 was admitted.)
22       BY MS. PELKER:

23       Q.    CS Mazars, can you explain what is shown here?

24       A.    So right here the product is the domain

25       FBI-test-domain-purchase.com.       User is looking to lease it for
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 72 of 117
                                                                               72

1        two years, renewing in September 2025.          It seems to be

2        discounted right now.      It offers the option for full domain

3        protection, essentially having digital security controls on top

4        of it.   And over here is the summary so the user can check out.

5        Q.    And is this a typical process for someone who is

6        registering a domain?

7        A.    Yes.

8        Q.    And from start to finish, on GoDaddy, how long would it

9        take somebody to set up a domain like this?

10       A.    Maybe five minutes.

11       Q.    And does GoDaddy and other providers offer a variety of

12       different payment methods?

13       A.    Yes.

14       Q.    And once a user registers the domain, how do they actually

15       put up content that will appear when someone visits that

16       website?

17       A.    Well, the domain name is just the name.          The actual

18       website needs to live on a server or group of servers and then

19       the site builder needs to point the domain name to the IP of

20       where the site lives and they do that via DNS record.

21       Q.    Can you host the content with a company where you

22       registered the domain like GoDaddy?

23       A.    Yes.   You can get them both from the same company.

24       Q.    If you wanted to, could you also host it yourself?

25       A.    Yes, you could.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 73 of 117
                                                                               73

1        Q.    And if you wanted to do it that way, how would you go

2        about getting space on a server somewhere?

3        A.    Hosting it yourself as in --

4        Q.    If you wanted to -- if you didn't want to use the company

5        that you registered the domain for, how could you go about

6        hosting it on a server somewhere else?

7        A.    You would go to another company that is advertising online

8        servers for lease and go through their process to rent it and

9        you would again set up the records so that the domain name

10       points to that website, whatever its IP is.

11       Q.    And if you wanted to, could you host it on your computer

12       at your house?

13       A.    Yes, you could.

14       Q.    Is it generally more or less common for someone if they

15       want to have a website to host it on a server somewhere?

16       A.    On a server, for sure.

17       Q.    And where are these servers located?

18       A.    They could be anywhere in the world.

19       Q.    Can you explain to the jury what a server hosting facility

20       or a data center generally would look like?

21       A.    A big one around here is in Ashburn, Virginia where they

22       have a data center that is just for servers for people all over

23       the world.

24       Q.    And is it basically like a big warehouse with lots of

25       server racks and computers inside?
     Case 1:21-cr-00399-RDM    Document 285   Filed 03/16/24   Page 74 of 117
                                                                                  74

1        A.    Yeah.   Big warehouse, racks of servers, fans keeping it

2        cool.

3        Q.    And does someone who is setting up the website have to

4        actually go out to one of those warehouses in person?

5        A.    No.    They never have to see it in person.

6        Q.    So how are they able to access the server to set it up and

7        run it?

8        A.    All online.

9        Q.    Now, can any company just start selling domain names?

10       A.    They could if they have a source of domain names.                There

11       are resellers.       But you actually have to, as a company, have

12       access to domain names in order to do that.

13       Q.    And are you familiar with an organization called ICANN?

14       That is I-C-A-N-N.

15       A.    Yes, I am familiar with it.

16       Q.    Generally, what does ICANN do relevant to domain names?

17       A.    It manages and keeps track of all of the available domains

18       there are and allocates them out.

19       Q.    Is one of ICANN's functions to accredit registrars that

20       then can sell domain names?

21       A.    Yes.    That is right.    They need to be accredited.

22       Q.    And to be an accredited registrar -- first of all, can you

23       explain what a registrar is?

24       A.    The registrar is the company that holds the domains and

25       leases them out.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 75 of 117
                                                                               75

1        Q.    So is GoDaddy one example of an accredited registrar?

2        A.    Yes.

3        Q.    To be an accredited registrar, are there certain things a

4        company has to do?

5        A.    Yes, I believe so.

6        Q.    Does that include maintaining Who is records for the

7        different domains?

8        A.    Yes.

9        Q.    To remind the jury, does the Who is information for a

10       domain necessarily reveal the true name or identity of the

11       person behind the website?

12       A.    No.

13       Q.    So what is the purpose then of that Who is information?

14       A.    So that if any issue or need arises with the domain, it is

15       clear which company or entity controls it so that any issues

16       can be raised with them.

17       Q.    And do the Who is records accurately reflect whatever the

18       information that the domain holder or the registrar put into

19       the record?

20       A.    Yes.

21       Q.    If you know a website web address is there a way to

22       determine where the domain was registered using the Who is

23       process?

24       A.    Yes.   You can often see it in the Who is record.

25       Q.    And is this similar to the Who is look up that you
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 76 of 117
                                                                               76

1        described for IP address?

2        A.    Yes, it is similar.

3        Q.    What information is included in a Who is lookup for a

4        domain?

5        A.    Likewise, there would be addresses, phone numbers, and

6        organization names --

7        Q.    Did you --

8        A.    -- and abuse contact.

9        Q.    Did you review the Who is records for Bitcoin Fog?

10       A.    For BitcoinFog.com, yes.

11       Q.    And showing you Exhibits 504A through E.           And, CS Mazars,

12       what are these generally of the whole series?

13       A.    Who is records.

14       Q.    Are they Who is records for BitcoinFog.com?

15       A.    For BitcoinFog.com.

16       Q.    Are these fair and accurate depictions of the Who is

17       records for Bitcoin Fog at the noted points in time?

18       A.    Yes.

19                    MS. PELKER:    Government moves to admit Exhibits 504A

20       through E.

21                    THE COURT:    Any objection?

22                    MR. EKELAND:   No objection.

23                    THE COURT:    Exhibits 504A through E are admitted and

24       may be published to the jury.

25                    (Whereupon, Exhibit No. 504A - 504E were admitted.)
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 77 of 117
                                                                               77

1        BY MS. PELKER:

2        Q.    Turning your attention to 504A.        Can you explain what is

3        shown here?

4        A.    So in this Who is record, you can see that the domain

5        BitcoinFog.com was registered by someone who input the

6        information as their name being Akemashite Omedetou with

7        shormint@hotmail.com being their provided email address.              And

8        they gave a Kyoto, Japan address and a telephone number.

9        Q.    What was the date given when this entry was created?

10       A.    October 25th, 2011.

11       Q.    And scrolling down a bit.      Were you also able to determine

12       what company handled this initial registration, not simply from

13       this record, but from your review of other records in the case?

14       A.    Yes, it appears to be High Hosting.

15       Q.    If we could pull up Exhibit 503.        CS Mazars, do you

16       recognize what is shown here on the screen?

17       A.    Yes.

18       Q.    What is this?

19       A.    An archive.org capture of the HighHosting.net website.

20       Q.    Is that as of October of 2011?

21       A.    Yes.

22       Q.    Does this fairly and accurately capture the archive.org of

23       the High Hosting website as of that date?

24       A.    Yes.

25                    MS. PELKER:   The government moves to admit and
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 78 of 117
                                                                               78

1        publish 503.

2                     THE COURT:   Any objection?

3                     MR. EKELAND:   No objection.

4                     THE COURT:   503 is admitted and may be published to

5        the jury.

6                     (Whereupon, Exhibit No. 503 was admitted.)
7        BY MS. PELKER:

8        Q.    Can you explain what is shown here on the screen?

9        A.    On the screen, you see High Hosting showing the different

10       paid services they offer, including shared servers, dedicated

11       virtual private servers and resellers.

12       Q.    What is shown in the bottom row of icons here?

13       A.    Icons of different payment methods.

14       Q.    Can you read the first there?

15       A.    Liberty Reserve, Web Money.

16       Q.    Can you read the last three on that list?

17       A.    PayPal, Visa, Mastercard.

18       Q.    And so is it your understanding that High Hosting would

19       accept payment from all of these different payment methods from

20       its service?

21       A.    Yes.

22       Q.    Did you review records from High Hosting pertaining to the

23       domain registration of BitcoinFog.com?

24       A.    Yes.

25       Q.    Directing your attention to 502A.         Can you explain what is
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 79 of 117
                                                                               79

1        shown here?

2        A.    An email from highhosting.net pertaining to an order.

3        Q.    And what is the date on this order?

4        A.    October 25th, 2011.

5        Q.    And what is the customer information given?

6        A.    Name, Akemashite Omedetou; email, shormint@hotmail.com.

7        Q.    And is this the registration record for BitcoinFog.com at

8        High Hosting?

9        A.    Yes, it appears to be.

10       Q.    Can you explain what is shown under order items?

11       A.    These would be what the customer actually paid for.             It

12       says, product/service, share hosting, mini hosting for domain

13       BitcoinFog.com.

14       Q.    How much was that?

15       A.    Two dollars.

16       Q.    And how often would that be billed?

17       A.    Every month.

18       Q.    Can you explain what -- at a general level, what share

19       hosting, mini hosting is?

20       A.    This would be the place where the website lived, not

21       dedicated, shared with other customers.

22       Q.    And on the section below that, with the next block of

23       text, can you walk through what is shown there?

24       A.    This is the order for actually registering the domain.

25       Once again, the domain is BitcoinFog.com and the customer paid
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                                                                               80

1        $12, the domain with yearly payments of $12.

2        Q.    And so what is the total amount for the order with the

3        shared hosting for the month and the registration of

4        BitcoinFog.com for the year?

5        A.    Fourteen dollars.

6        Q.    If you use one particular company to register a domain, is

7        it possible to move it to a different company?

8        A.    Yes, you can transfer them.

9        Q.    Why might someone choose one registrar over another?

10       A.    Price or satisfaction with the customer service.

11       Q.    If we could pull up Exhibit 502H.         Can you explain

12       generally what is shown here?       What is the subject line of this

13       message?

14       A.    Request for transfer of BitcoinFog.com.

15       Q.    Can you explain what is happening in this record?

16       A.    In this record, High Hosting is responding to or managing

17       a request to transfer BitcoinFog.com to a different company

18       that is a registrar.

19       Q.    If we could pull up Exhibit 1, the Bitcoin Talk post and

20       go to post number 70.      Can you read this post from

21       February 16th, 2012 by Akemashite Omedetou?

22       A.    Yes.   "After all of this time, we got the news today that

23       the hoster is stopping delivering the kind of hosting we were

24       using.   And they tell us this after they have shut down the

25       site without any warnings.      Now we are just waiting on them to
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 81 of 117
                                                                               81

1        gives domain transfer codes so we can get move the site to

2        another company."

3        Q.    Can you explain what your understanding is of the meaning

4        of Akemashite Omedetou's post here?

5        A.    The type of VPS, the type of server is no longer offered

6        by the company, found out by the site being shut down.

7        Therefore, it is transferring a domain to what appears to be

8        BitcoinFog.com to a different company.

9        Q.    Did you review Who is information for the Bitcoin Fog

10       domain from February of 2012?

11       A.    Yes.

12       Q.    If we could pull up Exhibit 504B, can you explain what is

13       shown here?

14       A.    These are two Who is records for BitcoinFog.com taken at

15       different times.

16       Q.    And can you just note on the screen where one record

17       begins and where the other -- where one record ends and the

18       other begins?

19       A.    On the left is the first record and on the right is the

20       second record.

21       Q.    Can you walk the jury through what is shown here on the

22       left-hand side, the entry for February 7th of 2012?

23       A.    The domain name is BitcoinFog.com.         The registrant is

24       Akemashite Omedetou, shormint@hotmail.com, full address and a

25       telephone number.     Creation date, 25 October 2011, with an
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 82 of 117
                                                                               82

1        expiration the next year.      And the domain services are listed

2        as being highhosting.net servers.

3        Q.    And now directing your attention over to the right, the

4        February 22nd, 2012, did many of the fields stay the same?

5        A.    Yes.

6        Q.    Can you explain what has changed here?

7        A.    In the domain servers listed order section instead of

8        NS1.highhosting.net, we have NS1.mainnameserver.com.

9        Q.    And what does this indicate to you here?

10       A.    BitcoinFog.com used to be handled by highhosting.net named

11       servers, now by mainnameserver.com.         Likely, here this would

12       indicate that the server company changed.

13       Q.    Directing your attention back to Exhibit 1, the Bitcoin

14       Talk thread.    And going to the next post, the one right after

15       the one we just read, so post 71.        Can you read the first

16       paragraph there?

17       A.    "Problems with the freenet website are finally seem to be

18       resolved.    The extra time was due to the domain transfer.           Also

19       we are now on Bitcoin-hosting.com, which is good the Bitcoin

20       economy" emoji.

21       Q.    What is the date of this post here?

22       A.    February 26, 2012.

23       Q.    Did you review additional Who is records for

24       BitcoinFog.com?

25       A.    Yes.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 83 of 117
                                                                               83

1        Q.    If we can pull up Exhibit 504D.        And what is the date on

2        this domain -- on this Who is record?

3        A.    10/25/2011.

4        Q.    And can you read the first two lines at the top?

5        A.    "Domain registered by orangewebsite.com, 100 percent

6        anonymous domain registration service."

7        Q.    Can you read the last line down at the bottom?

8              We have to scroll down.

9        A.    "Register your domain name 100 percent anonymously at

10       www.orangewebsite.com.      We accept Bitcoin as payment method."

11       Q.    What is Orange website?

12       A.    It appears to be a domain registrar.

13       Q.    If we could pull up Exhibit 506, which is not yet in

14       evidence.

15             And, CS Mazars, do you recognize what is shown here?

16       A.    Yes.

17       Q.    What is this?

18       A.    An archive.org capture of Orangewebsite.com in 2011,

19       December 7th.

20       Q.    Does this fairly and accurately reflect the capture of

21       Orange website's site as depicted at the time?

22       A.    Yes.

23                    MS. PELKER:   Government moves to admit and publish

24       Government Exhibit 506.

25                    THE COURT:    Any objection?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 84 of 117
                                                                                  84

1                     MR. EKELAND:   No objection.

2                     THE COURT:   Exhibit 506 is admitted and may be

3        published to the jury.

4                     (Whereupon, Exhibit No. 506 was admitted.)
5        BY MS. PELKER:

6        Q.    Can you explain just at a very high level what is shown

7        here?

8        A.    This is the main website for a company that offers, as I

9        now recall, server hosting, different types of server hosting

10       as well as domain names.

11       Q.    And what is shown in the upper right-hand corner?

12       A.    Bitcoin accepted here.

13       Q.    And can we return our attention to Exhibit 504D.                And what

14       is now shown here in the registrant information?            First can we

15       actually scroll up to reorient.

16             This is the Who is record for Bitcoin Fog as of May 8th of

17       2012?

18       A.    Yes.

19       Q.    And what is now shown in the registrant contract

20       information?

21       A.    Fundacion private Who is with a very long or randomized or

22       probably unique address dot private Who is .net and a Panama

23       address.

24       Q.    And are you familiar with domain privacy protection

25       services?
     Case 1:21-cr-00399-RDM   Document 285    Filed 03/16/24   Page 85 of 117
                                                                                85

1        A.    Yes.

2        Q.    Can you explain what those are?

3        A.    They fill the domain registration with private anonymized

4        information so that you don't need to put your own personal

5        information in.      That way, when you look at the Who is record,

6        all you see is which privacy service registered the domain and

7        not at all who it is.

8        Q.    Did the Bitcoin Fog domain continue to be associated with

9        Orange website for at least some period of time?

10       A.    Yes.

11       Q.    If we could pull up Exhibit 438.         And directing your

12       attention to the second and third rows and scrolling slowly to

13       the right.    What service is paid for here by

14       shormint@hotmail.com?

15       A.    I'm sorry.     Which column?    Merchant?

16       Q.    The merchant name -- we can scroll all of the way to the

17       left.   And what is the user in column A that is doing the

18       transactions in rows 2 and 3?

19       A.    Shormint@hotmail.com.

20       Q.    And now if we scroll over to the right for the merchant

21       name, what is --

22       A.    Orangewebsite.com Bitcoin hosting.

23       Q.    And can we scroll so we can see the dates in column D.

24       Scroll back to the left.      It is very wide columns.          What are

25       the dates of these two different transactions?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 86 of 117
                                                                               86

1        A.    9/14/2014 and 10/12/2015.

2        Q.    If we could now pull up Exhibits 811 and 814, which are in

3        evidence.     Directing your attention first to Exhibit 811.          Can

4        you explain what is shown here?

5        A.    An invoice for domain registration renewal.

6        Q.    What is the date on the invoice of the date it was

7        actually paid?

8        A.    Oh, that it was paid?

9        Q.    Could you read the second sentence of the -- after dear

10       customer.

11       A.    Oh.    "This is a payment receipt for invoice 30579 sent on

12       12 October 2015."

13       Q.    And can you, looking at the next line below that, explain

14       what service is being -- is being purchased here?

15       A.    The domain for BitcoinFog.com with features called DNS

16       management and email forwarding.

17       Q.    And what is the date of -- that this domain renewal will

18       be good through?

19       A.    It will be good through 10/24/2021.

20       Q.    Did you review an additional invoice confirmation also

21       from October of 2015?

22       A.    Yes.

23       Q.    Directing your attention to Exhibit 814, is that what is

24       shown here?

25       A.    Yeah.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 87 of 117
                                                                               87

1        Q.    Is that a yes?

2        A.    Yes.   That was a yes.

3        Q.    Can you note the date of this invoice payment?

4        A.    12 October 2015.

5        Q.    So this is around the same time of the prior invoice that

6        we just saw?

7        A.    Yes.

8        Q.    But what are the dates covered for this renewal?

9        A.    10/25/2021 through 10/24/2026, five year renewal.

10       Q.    So at this point in October of 2015, how long has

11       Akemashite Omedetou renewed the Bitcoin Fog domain registration

12       through?

13       A.    I'm sorry.     What -- this was in 2015, five years, I

14       believe.     I don't remember the exact start date, but it was

15       somewhere around five years.

16       Q.    What was -- so looking at the October 2015 renewals and

17       the record in front of you, what is the end date now of the

18       registration for the domain?

19       A.    In 2026.

20       Q.    Is that two five year renewals stacked?

21       A.    Yes, back to back.

22       Q.    Did you also review the Bitcoin Fog record from March 2020

23       shortly prior to the defendant's arrest?

24       A.    Yes.

25       Q.    If we could pull up 504E.      Is this the Who is record that
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 88 of 117
                                                                               88

1        is shown here?

2        A.     Yes, it is.

3        Q.     If we could scroll to the top.       What is the expiration

4        date noted here?

5        A.     10/25/2026.

6        Q.     Could you -- thank you.

7               And what does that expiration date indicate?

8        A.     The date at which the registration needs to be renewed

9        again.

10       Q.     So if nothing else intervened with BitcoinFog.com it

11       continued to stay active until 2026?

12       A.     Yes.

13       Q.     Would there also need to be payments for server hosting in

14       that time for material to actually appear?

15       A.     Yes.   Both the website name would need to be paid for and

16       the actual server hosting, the contents would need to be up

17       too.

18       Q.     And you have testified about registering a clearnet

19       domain.   Do you register a Tor hidden service the same way?

20       A.     No, not the same way.

21       Q.     And in as basic nontechnical terms as possible, how does

22       someone get a Tor hidden service address?

23       A.     The .onion addresses are mathematically generated in some

24       way to represent exactly where on the Tor network they live.

25       Q.     Is there any particular company that you have to go to to
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 89 of 117
                                                                               89

1        get that long string of letters and numbers, .onion?

2        A.    I believe the Tor Project.

3        Q.    Do you actually register that address with a company or

4        any other entity?

5        A.    Oh, no.

6        Q.    And can you tell just by looking at an address whether it

7        is a Tor hidden service address rather than a regular website

8        address?

9        A.    Yes.   Because it ends in .onion.

10       Q.    How does someone who is managing a Tor hidden service

11       manage the information that shows up when someone visits

12       that .onion address?

13       A.    Well, they also need to have a server running the website.

14       It just is reachable by the .onion address.           So you control it

15       by changing what is hosted on the server itself.

16       Q.    Does a visitor to a hidden services site access the page

17       the same way a visitor to a regular website does?

18       A.    It would be through the Tor browser.           And you would have

19       to know the URL of the page you are going to.            It wouldn't show

20       up -- in most cases, it wouldn't pop up in a search engine or

21       something like that.

22       Q.    If we could pull back up 361 and resume the slide show

23       here.   Are these next few slides a series of visual -- is this

24       slide a visual explaining how a user would access a regular

25       clearnet website?
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 90 of 117
                                                                                 90

1        A.    Yes.

2        Q.    And can you -- if a user types in a website like

3        BitcoinFog.com, into a regular browser not Tor, does the

4        computer immediately know how to reach the Bitcoin Fog server?

5        A.    No.    It needs to do that lookup first.

6        Q.    So how does the user's computer figure out the IP address

7        of whatever website here it is trying to talk to, here

8        BitcoinFog.com?

9        A.    It has to make a connection to a DNS server, a name

10       server.     It is also known to find out what the IP address is.

11       Q.    So can you walk us through this slide of -- to explain how

12       that process plays out?

13       A.    Yes.   The users in the bottom left with their 50.122

14       ending IP address, first the user types in BitcoinFog.com and

15       the process that happens, the users don't have to do it

16       manually is that name server is contacted.           It already has

17       records of where websites should currently resolve to.                And

18       this is at a very high level.       And it responds with what the IP

19       address they need is.

20       Q.    And now what is the user able to do with that?

21       A.    Now, the user can make the website request.           The user can

22       make the web request to BitcoinFog.com, because it knows where

23       it is going.

24       Q.    Does the user have to actually look at the message from

25       the name server and then type in that IP address in their
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 91 of 117
                                                                               91

1        browser?

2        A.    No, none of that is manual.

3        Q.    And then what happens after the user's request to

4        BitcoinFog.com?

5        A.    BitcoinFog.com responds back to the user with the website.

6        Q.    And is this what is happening behind the scenes when I go

7        home and sit down at my computer and go to Google.com?

8        A.    Yes.

9        Q.    And what if the website wants to move to a different IP

10       address?

11       A.    The domain name server record would have to be updated.

12       There would have to be a change in DNS record so that it knows

13       where -- the internet essentially knows where to send it.

14       Q.    Is this the same way someone accesses a Tor hidden

15       services?

16       A.    No.

17       Q.    Can you walk us through how that access will play out?

18       A.    Yes.   So this diagram shows a somewhat simplified version

19       of how Tor hidden services and users reach each other through

20       the network.    There are a few steps with authentication and

21       some servers in front of the servers.         But generally speaking,

22       this is how your traffic traverses the Tor network to get the

23       hidden services.

24       Q.    So what is the first step?

25       A.    It identifies or picks one of the servers in the Tor
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 92 of 117
                                                                                 92

1        network to be what is known as the rendezvous point, which

2        facilitates the overall connection.

3        Q.    And is the rendezvous point as shown in the simplified

4        diagram the server with the green arrow around it here?

5        A.    Yes.   It is highlighted in green.

6        Q.    And what happens after that?

7        A.    So after that, the user needs to form what is known as a

8        Tor circuit, those three hops to the rendezvous point.                And

9        there is also a circuit between the hidden services site and

10       the rendezvous point.

11       Q.    And is that what is now mapped out in the dashed line in

12       front of you?

13       A.    Yes.   This is the Tor determining what route it would take

14       on both ends, the path to the rendezvous point.

15       Q.    What is the purpose of the rendezvous point at a

16       non-technical level?

17       A.    Security essentially, to obscure from one side of the

18       network where the other side is.

19       Q.    And after the Tor network and the user have mapped out the

20       circuit, what happens next?

21       A.    The connection can be made.       The user is going to request

22       the hidden services address.

23       Q.    And how is that connection routed?

24       A.    It is going to go through the first circuit to the

25       rendezvous point, which becomes the center point in the path.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 93 of 117
                                                                               93

1        And then it keeps moving through the second circuit too after

2        another step or two, the -- in this case the .onion hidden

3        service.

4        Q.    Is the information from the .onion then relayed back to

5        the user through the rendezvous point again?

6        A.    Yes, back through the same connection.

7        Q.    And is that what is shown here?

8        A.    Yes.

9        Q.    Is it possible for one site to use multiple .onion

10       addresses?

11             Is it possible for one site to operate multiple .onion

12       addresses that then while they are unique .onion addresses can

13       point to the same server?

14       A.    Yes, I believe so, although I have never tried to set it

15       up like that, but I think that is possible.

16       Q.    Can a service, if it wanted to, move to a new .onion

17       address?

18       A.    Yes.

19       Q.    Can you explain what a Tor gate is?

20       A.    In this context, a Tor gate appears to be a clearnet or

21       non-Tor website server that users can visit and -- to view the

22       Tor hidden services without having to go on Tor.            So in this

23       case, it is not my, the user's computer, running Tor, it is the

24       server in between that runs it for you.          And so what I

25       understand Tor gate to mean is the website that I would have to
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 94 of 117
                                                                               94

1        visit to get access to the -- basically this portal to the Tor

2        hidden service.      And I would just browse it from going through

3        the website.

4        Q.    Using the slide in front of you to explain the concept,

5        can you explain how the traffic would be routed from a user,

6        through the gate, through the Tor network to a .onion site?

7        A.    The user would type gate.BitcoinFog.com into their

8        browser.    And then they would go to the -- that website and

9        then from there, they would have the place where they could

10       specify which hidden services by .onion they are trying to go

11       to.   And the request would then go through the Tor network

12       through these circuits that were built to the hidden services

13       and back.

14       Q.    And what is the purpose -- what is the benefit of a Tor

15       gate to the user?

16       A.    So the user doesn't have to run Tor themselves.

17       Q.    Does the gate functionality also -- is it easier to

18       remember gate.BitcoinFog.com or foggeddriztrcar.onion?

19       A.    I would say --

20       Q.    The court reporter is not happy with me.           I'm sorry.

21             Is it easier to remember a long string of letters and

22       numbers .onion or gate.BitcoinFog.com?

23                   MR. EKELAND:    Objection, Your Honor.        She is not an

24       expert in memory or psychology.

25                   THE COURT:   I think we can move on.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 95 of 117
                                                                               95

1        BY MS. PELKER:

2        Q.    Around December 2012, did Bitcoin Fog announce that it was

3        adding a Tor gate?

4        A.    Yes.

5        Q.    Did you review announcements from December 2012, where

6        Akemashite Omedetou or Bitcoin Fog announced the Tor gate?

7        A.    Yes.

8        Q.    Showing you Exhibit 26 from the Bitcoin Fog Twitter

9        screenshots.

10             I believe this may not have been admitted.

11             Is this a fair and accurate reflection of the Bitcoin Fog

12       Twitter tweets that you reviewed in conducting your review of

13       Akemashite Omedetou's posts?

14       A.    Yes.

15                    MS. PELKER:    Government moves to admit Exhibit 26,

16       if it is not already in evidence.

17                    THE COURT:    Any objection?

18                    MR. EKELAND:   Objection; hearsay.

19                    THE COURT:    Exhibit 26 is admitted.       It may be

20       published to the jury.      If there is any particular statement

21       in there that is not subject to my prior rulings, you can let

22       me know.

23                    (Whereupon, Exhibit No. 26 was admitted.)
24       BY MS. PELKER:

25       Q.    Can you read the third tweet from the bottom from December
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 96 of 117
                                                                               96

1        2nd of 2012?

2        A.    "If the DNS is working for you, should soon, test out our

3        new Tor gate at gate.BitcoinFog.com.         Experimental now, so keep

4        your eyes open."

5        Q.    Now, going back to Exhibit 1, the Bitcoin talk thread on

6        page 50.

7              Can you read the third paragraph from the bottom of this

8        long post?    We may need to scroll down a little bit.           Starting

9        with, "Now for some good news."

10       A.    "Now for some good news.      We have launched a Tor gate so

11       the service can be accessed even without Tor.

12       Https:\\gate.BitcoinFog.com."

13       Q.    Directing your attention now to Exhibit 9, which is not in

14       evidence.    Do you recognize this?

15       A.    Yes.

16       Q.    If we could scroll in on the top for archive.org post.

17       Thank you.

18             Can you explain what this is?

19       A.    It is an archive.org capture of gate.BitcoinFog.com from

20       2013/7/25.

21       Q.    Does this fairly and accurately reflect the information

22       that was displayed on gate.BitcoinFog.com and captured by

23       archive.org?

24       A.    Yes.

25                    MS. PELKER:   Government moves to admit Exhibit 9.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 97 of 117
                                                                               97

1                     THE COURT:   Any objection?

2                     MR. EKELAND:   No objection, Your Honor.

3                     THE COURT:   Exhibit 9 is admitted and may be

4        published to the jury.

5                     (Whereupon, Exhibit No. 9 was admitted.)
6        BY MS. PELKER:

7        Q.    If we can scroll back out.       And, CS Mazars, can you

8        explain what is shown here?

9        A.    A log-in page for Bitcoin Fog company, the username and

10       password field.

11       Q.    And can you explain what website a user would have visited

12       to be able to be shown this page?

13       A.    Gate.BitcoinFog.com.

14       Q.    So is this a way for a user to access Bitcoin Fog through

15       BitcoinFog.com rather than going to .onion site?

16       A.    Yes.

17       Q.    Can you explain what is an SSL certificate again, in as

18       basic terms as possible?

19       A.    It is a piece of the method of encryption that lets you

20       know that you are browsing sites safely, because it guarantees

21       the site's authenticity.

22       Q.    What is the benefit of having an SSL certificate?

23       A.    If you have a https website, it will show if the -- you

24       have a valid certificate.      Websites really should have it.         And

25       users look to see if they are on the real website.
     Case 1:21-cr-00399-RDM   Document 285   Filed 03/16/24   Page 98 of 117
                                                                               98

1        Q.    Is there an indicator of a site having an SSL certificate

2        that the jury might be familiar with?

3        A.    Sometimes it is a little lock to the left of the URL.

4        Q.    How if you are operating a website, how do you get an SSL

5        certificate?    Again, not on the technical side, just how a user

6        would go about getting one?

7        A.    You pay for one.

8        Q.    Did you review records showing where Bitcoin Fog acquired

9        and paid for the SSL certificate for gate.BitcoinFog.com?

10       A.    Yes.

11       Q.    Directing your attention to Exhibit 517L, from the

12       Microtronix production.      Can you explain what is shown here?

13                    MS. PELKER:    This should already be in evidence, I

14       believe.

15                    THE COURTROOM DEPUTY:     Uh-huh.

16                    THE WITNESS:   It is an invoice for --

17       BY MS. PELKER:

18       Q.    We can scroll down to the bottom to see what the invoice

19       is for.

20       A.    Specifically for an SSL certificate for

21       gate.BitcoinFog.com.

22       Q.    What is the date on the invoice?

23       A.    January 12th, 2012.

24       Q.    And scrolling back up to the top.         What is the user

25       account information given for the Microtronix purchase of the
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1        SSL certificate?

2        A.    Under client information, first name, Akveduk; last name,

3        Papademos; company name, Bitcoin Fog; email address,

4        shormint@hotmail.com.

5                    MS. PELKER:    And, Your Honor, we can either break

6        now or we can go for -- we can go as long as you want.                We can

7        go for another 15 minutes and break then.

8                    THE COURT:    Why don't we go ahead and break now.           It

9        is 12:30.    Let's come back at 1:30 and continue.          Please don't

10       discuss the case, even amongst yourselves.           And don't do any

11       type of research.     And make sure you steer clear of people

12       involved in the case so you don't overhear anything

13       inadvertently in the hallway.       Have a nice lunch.

14                   THE COURTROOM DEPUTY:      What time to be back?

15                   THE COURT:    1:30.

16                   (Jury out at 12:28 p.m.)

17                   THE COURT:    You can have your lunch as well.            Don't

18       discuss the testimony with anybody until it is complete.

19                   Just updating you all on juror availability issues.

20       There is one juror who has not yet previously cashed in her

21       chit, but who needs to arrive a little bit late tomorrow and

22       leave a little bit early for childcare purposes.            But I think

23       she can be here probably by 9:15 certainly no later than 9:30

24       and needs to leave no later than 4:30 tomorrow.

25                   More significantly and I guess I need to figure out
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1        more about this is that Juror number 6, who has cashed in some

2        chits and has been late repeatedly, says that on Monday, I

3        think it is --

4                    THE COURTROOM DEPUTY:       Yes, Judge.

5                    THE COURT:    She needs to be in Baltimore by 4:30 and

6        was suggesting we end the day at lunchtime so she can get to

7        Baltimore.    I don't know why she needs to be in Baltimore and

8        what the circumstances are.         But that obviously concerns me.

9        There is another juror who has to be somewhere by 5:30.                 I

10       don't think that is an issue because I think it is local, as

11       far as I know.

12                   Juror number 7, has a medical appointment on the

13       13th, which hopefully we will be in deliberations by then.                  I

14       don't know for sure, but hopefully we will be in deliberations

15       by then. I think we should think about it a little bit,

16       because she is checking a little bit more, but it is a medical

17       appointment procedure.      And I don't know how long she will be

18       out for it.    But it could be an extended issue.            And I think

19       before we actually start deliberations, we might want to

20       consider whether we should let her go or not, because it would

21       be a shame halfway through deliberations to have somebody who

22       disappears for it could be a week or something like that.                   She

23       didn't really know exactly what the procedure was going to

24       require.

25                   And then there is -- I think this is less of an
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1        issue.    There is a juror who has a business trip on the 15th

2        of March.    It is a one-day trip.      And if we were still in

3        deliberations on the 15th of March, I think we could probably

4        take the day off for the business trip, if we had to.

5                    And the deputy clerk reports to me that jurors 6 and

6        9 do continue to be chronically late, so that is the update.

7        All right.    I will see you all after lunch.

8                    (Recess taken at 12:31 p.m.)

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1                                 C E R T I F I C A T E
2

3                    I, SHERRY LINDSAY, Official Court Reporter, certify
4        that the foregoing constitutes a true and correct transcript of
5        the record of proceedings in the above-entitled matter.
6

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10                                   Dated this 29th day of February, 2024.
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12                                   ________________________
                                     Sherry Lindsay, RPR
13                                   Official Court Reporter
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